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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                                 Check if this is an
                                                                        Chapter 13
                                                                                                                                 amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Dwayne                                                   Dana
     government-issued picture
                                       First Name                                               First Name
     identification (for example,
     your driver's license or          Paul                                                     Michelle
     passport).                        Middle Name                                              Middle Name

                                       Bridges                                                  Bridges
     Bring your picture                Last Name                                                Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)


2.   All other names you               Dwayne                                                   Dana
     have used in the last 8           First Name                                               First Name
     years                             P.                                                       Michelle
                                       Middle Name                                              Middle Name
     Include your married or
                                       Bridges                                                  Johnson
     maiden names.
                                       Last Name                                                Last Name



                                                                                                Dana
                                       First Name                                               First Name
                                                                                                M.
                                       Middle Name                                              Middle Name
                                                                                                Bridges
                                       Last Name                                                Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   7        8       9    4     xxx – xx –                   9         4        7      4
     number or federal                 OR                                                       OR
     Individual Taxpayer
     Identification number             9xx – xx –                                               9xx – xx –
     (ITIN)



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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                         Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in       Business name                                                Business name
     the last 8 years
                                  Business name                                                Business name
     Include trade names and
     doing business as names
                                  Business name                                                Business name

                                               –                                                           –
                                  EIN                                                          EIN
                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  920 Lynch Bend Rd.
                                  Number       Street                                          Number      Street




                                  Springtown                      TX       76082
                                  City                            State    ZIP Code            City                           State    ZIP Code

                                  Parker
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13


Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                 Case number (if known)

8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                     court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                     pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                     behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                     I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                     I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                     than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                     fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                     Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for              No
     bankruptcy within the
     last 8 years?                   Yes.

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is         Yes.
    not filing this case with
                                Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an           District                                               When                    Case number,
    affiliate?                                                                                MM / DD / YYYY   if known


                                Debtor                                                             Relationship to you

                                District                                               When                    Case number,
                                                                                              MM / DD / YYYY   if known

11. Do you rent your                 No.    Go to line 12.
    residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                                 No. Go to line 12.
                                                 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                 and file it as part of this bankruptcy petition.




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                     Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State           ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State          ZIP Code




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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                       Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.

Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                     Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                   Case number (if known)


 Part 7:      Sign Below
For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                X /s/ Dwayne Paul Bridges                                   X /s/ Dana Michelle Bridges
                                     Dwayne Paul Bridges, Debtor 1                             Dana Michelle Bridges, Debtor 2

                                     Executed on 10/10/2019                                    Executed on 10/10/2019
                                                 MM / DD / YYYY                                            MM / DD / YYYY




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                  Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ Carla R. Vida                                                   Date 10/10/2019
                                     Signature of Attorney for Debtor                                      MM / DD / YYYY


                                     Carla R. Vida
                                     Printed name
                                     The Vida Law Firm, PLLC
                                     Firm Name
                                     3000 Central Drive
                                     Number         Street




                                     Bedford                                                  TX              76021
                                     City                                                     State           ZIP Code


                                     Contact phone (817) 358-9977                   Email address


                                     16674445                                                 TX
                                     Bar number                                               State




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                           page 8
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  Fill in this information to identify your case and this filing:
  Debtor 1               Dwayne                      Paul                 Bridges
                         First Name                  Middle Name          Last Name

  Debtor 2            Dana                           Michelle             Bridges
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                             Check if this is an
  (if known)
                                                                                                                             amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                               12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                        What is the property?                         Do not deduct secured claims or exemptions. Put the
920 Lynch Bend Road                                         Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description              Single-family home                        Creditors Who Have Claims Secured by Property.
                                                                Duplex or multi-unit building             Current value of the       Current value of the
                                                                Condominium or cooperative                entire property?           portion you own?
Springtown                       TX       76082                 Manufactured or mobile home                         $154,160.00                $154,160.00
City                             State    ZIP Code              Land
                                                                Investment property                       Describe the nature of your ownership
                                                                Timeshare                                 interest (such as fee simple, tenancy by the
Parker                                                                                                    entireties, or a life estate), if known.
                                                                Other
County
                                                                                                          Contract for Deed
                                                            Who has an interest in the property?
mobile home w/ land
                                                            Check one.
1 acre of land: $40,000.00
                                                                Debtor 1 only                                Check if this is community property
2002 Palm Harbor mobile home
                                                                Debtor 2 only                                (see instructions)
42x76: $114,160.00
                                                                Debtor 1 and Debtor 2 only
                                                                At least one of the debtors and another

                                                            Other information you wish to add about this item, such as local
                                                            property identification number:




Official Form 106A/B                                                    Schedule A/B: Property                                                       page 1
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Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                                 Case number (if known)


1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
1045 Green Ridge Terrace                                 Check all that apply.                               amount of any secured claims on Schedule D:
Saginaw, Texas                                                Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
1045 Green Ridge Terrace, Saginaw                             Condominium or cooperative                     entire property?                portion you own?
value of property: $130,951.00;                               Manufactured or mobile home                                $130,951.00                 $130,951.00
balance owed $92,000.00;                                      Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
Tarrant
County                                                        Other                                          entireties, or a life estate), if known.

                                                                                                             Fee Simple
                                                         Who has an interest in the property?
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................           $285,111.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Chevrolet                    Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      Corvette
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2016                                                                      entire property?                       portion you own?
                                                              Debtor 1 and Debtor 2 only
Approximate mileage: 17,000                                   At least one of the debtors and another            $33,000.00                           $33,000.00
Other information:
2016 Chevrolet Corvette (approx.                              Check if this is community property
17000 miles)                                                  (see instructions)

3.2.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Toyota                       Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      Tundra
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2012                                                                      entire property?                       portion you own?
                                                              Debtor 1 and Debtor 2 only
Approximate mileage: 42,217                                   At least one of the debtors and another            $16,000.00                           $16,000.00
Other information:
2012 Toyota Tundra (approx. 42217                             Check if this is community property
miles) (Debtors' son drives)                                  (see instructions)




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                          Case number (if known)


3.3.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Toyota        Check one.                                 amount of any secured claims on Schedule D:
                                        Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                 Tundra
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2016
                                        Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 42,217             At least one of the debtors and another            $29,000.00               $29,000.00
Other information:
2016 Toyota Tundra                      Check if this is community property
                                        (see instructions)
3.4.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Toyota        Check one.                                 amount of any secured claims on Schedule D:
                                        Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                 Tundra
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2007
                                        Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage:                    At least one of the debtors and another                $200.00                  $200.00
Other information:
2007 Toyota Tundra (inoperable)         Check if this is community property
                                        (see instructions)
3.5.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Jeep          Check one.                                 amount of any secured claims on Schedule D:
                                        Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                 Wrangler
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2005
                                        Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage:                    At least one of the debtors and another             $2,500.00                 $2,500.00
Other information:
2005 Jeep Wrangler                      Check if this is community property
                                        (see instructions)
3.6.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  BMW           Check one.                                 amount of any secured claims on Schedule D:
                                        Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2008
                                        Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage:                    At least one of the debtors and another             $4,000.00                 $4,000.00
Other information:
2008 BMW                                Check if this is community property
                                        (see instructions)
3.7.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                                Check one.                                 amount of any secured claims on Schedule D:
                                        Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                 Colorado
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2006                                                     entire property?          portion you own?
                                        Debtor 1 and Debtor 2 only
Approximate mileage:                    At least one of the debtors and another                $200.00                  $200.00
Other information:
2006 Colorado                           Check if this is community property
                                        (see instructions)




Official Form 106A/B                            Schedule A/B: Property                                                     page 3
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Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                               Case number (if known)

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Bass                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Tracker
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     1987
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another                $800.00                              $800.00
1987 Bass Tracker
                                                            Check if this is community property
                                                            (see instructions)
4.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     XMR 1000 Outlander Check one.                                                    amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Can Am 4 wheeler
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2014
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another             $5,315.00                             $5,315.00
2014 XMR 650 CAM AM Outlander
                                                            Check if this is community property
                                                            (see instructions)
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $91,015.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $4,015.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               televisions, computers, dvd/cd/vcr stereo component, camcorder, play                                                   $1,730.00
                                stations.

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               books, pictures & art objects, Marilyn Monroe picture collection                                                         $415.00


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $1,195.00



Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
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Debtor 1          Dwayne Paul Bridges
Debtor 2          Dana Michelle Bridges                                                                                             Case number (if known)

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                               $1,050.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                clothing and personal effects                                                                                                                                           $1,180.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                rings, watches, earrings, wedding rings, costume jewelry, necklaces,                                                                                                    $1,240.00
                                         bracelets

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                household pets: 1 cat, 3 dogs                                                                                                                                                   $0.00


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                 $10,825.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $0.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.       Checking account:                      Wells Fargo; checking account ending 947                                                                                                    $571.14




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 5
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Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                              Case number (if known)

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:

                                               License to Chill Heating & Air, Inc. dba Just Chillin
                                               Heat & Air                                                            100%                         $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them


Official Form 106A/B                                                       Schedule A/B: Property                                                 page 6
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Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                          Case number (if known)

Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                               Federal:
           about them, including whether
           you already filed the returns                                                                                State:
           and the tax years.....................................
                                                                                                                        Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                  Alimony:

                                                                                                           Maintenance:

                                                                                                           Support:

                                                                                                           Divorce settlement:

                                                                                                           Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                            Beneficiary:                      Surrender or refund value:

                                                  Metlife; term life policy insuring the
                                                  life of Debtor Husband; face value
                                                  $850,000.00; no cash value                                                                      $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............




Official Form 106A/B                                                  Schedule A/B: Property                                                       page 7
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Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                                               Case number (if known)

35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................       $571.14


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................
                              drills, volt meter, leak detector, vacuum pump, hand tools                                                                                   $1,500.00


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
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Debtor 1          Dwayne Paul Bridges
Debtor 2          Dana Michelle Bridges                                                                              Case number (if known)

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

             Zero Turn TRW w/60" MWR & ROPS                                                                                                                                $5,200.00
             Kubota 4WD HST Tractor, Kubota, Front Loader, 5'Rotay Cutter, 60: light duty box scrape,
             Kubota ROPS                                                                                                                                                   $6,800.00
             Land Pride Claw Grapple 60                                                                                                                                    $1,000.00
             Back Ho and Post Hole Digger                                                                                                                                    $500.00
             grass catcher and line trimmer                                                                                                                                  $400.00
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................    $15,400.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 9
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Debtor 1           Dwayne Paul Bridges
Debtor 2           Dana Michelle Bridges                                                                                      Case number (if known)


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $285,111.00

56. Part 2: Total vehicles, line 5                                                                                  $91,015.00

57. Part 3: Total personal and household items, line 15                                                             $10,825.00

58. Part 4: Total financial assets, line 36                                                                              $571.14

59. Part 5: Total business-related property, line 45                                                                $15,400.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $117,811.14               property total                 +          $117,811.14



63. Total of all property on Schedule A/B.                                                                                                                                                  $402,922.14
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                  page 10
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Debtor 1    Dwayne Paul Bridges
Debtor 2    Dana Michelle Bridges                                             Case number (if known)


6.   Household goods and furnishings (details):

     kitchen table, 2 arm chairs, 6 regular chairs                                                                $500.00

     dishwasher                                                                                                   $500.00

     household goods & furnishings                                                                              $3,015.00

9.   Equipment for sports and hobbies (details):

     dirt bike                                                                                                    $500.00

     board games, arcade game, pool tables, camera, exercise equipment                                            $695.00

10. Firearms (details):

     Smith & Wesson Body Armour handgun                                                                           $200.00

     Glock 30                                                                                                     $350.00

     Glock 26                                                                                                     $300.00

     Mossburg 12 ga.                                                                                              $100.00

     Double Tap 45                                                                                                $100.00




Official Form 106A/B                                 Schedule A/B: Property                                         page 11
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 Fill in this information to identify your case:
 Debtor 1            Dwayne               Paul                   Bridges
                     First Name           Middle Name            Last Name
 Debtor 2            Dana                 Michelle               Bridges
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you       exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $154,160.00                     $0.00           11 U.S.C. § 522(d)(1) (Claimed:
mobile home w/ land                                                               100% of fair market     $0.00
1 acre of land: $40,000.00                                                        value, up to any        100% FMV without any restrictions)
2002 Palm Harbor mobile home 42x76:                                               applicable statutory
$114,160.00                                                                       limit
Line from Schedule A/B: 1.1

Brief description:                                        $130,951.00                                     11 U.S.C. § 522(d)(5) (Claimed:
1045 Green Ridge Terrace, Saginaw                                                 100% of fair market     $25,028.86
value of property: $130,951.00; balance                                           value, up to any        100% of fair market value, up to any
owed $92,000.00;                                                                  applicable statutory    applicable statutory limit)
Line from Schedule A/B: 1.2                                                       limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $33,000.00                   $0.00           11 U.S.C. § 522(d)(2) (Claimed:
2016 Chevrolet Corvette (approx. 17000                                       100% of fair market    $0.00
miles)                                                                       value, up to any       100% FMV without any restrictions)
Line from Schedule A/B: 3.1                                                  applicable statutory
                                                                             limit

Brief description:                                     $16,000.00                   $0.00           11 U.S.C. § 522(d)(2) (Claimed:
2012 Toyota Tundra (approx. 42217 miles)                                     100% of fair market    $0.00
(Debtors' son drives)                                                        value, up to any       100% FMV without any restrictions)
Line from Schedule A/B: 3.2                                                  applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           11 U.S.C. § 522(d)(5) (Claimed:
2007 Toyota Tundra (inoperable)                                              100% of fair market    $200.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    3.4
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $4,000.00                $4,000.00          11 U.S.C. § 522(d)(2) (Claimed:
2008 BMW                                                                     100% of fair market    $4,000.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    3.6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           11 U.S.C. § 522(d)(5) (Claimed:
2006 Colorado                                                                100% of fair market    $200.00
2006 Colorado                                                                value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    3.7                                               applicable statutory
                                                                             limit

Brief description:                                       $800.00                  $800.00           11 U.S.C. § 522(d)(5) (Claimed:
1987 Bass Tracker                                                            100% of fair market    $800.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    4.1
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $5,315.00                   $0.00           11 U.S.C. § 522(d)(5) (Claimed:
2014 XMR 1000 Outlander Can Am 4                                             100% of fair market    $0.00
wheeler                                                                      value, up to any       100% FMV without any restrictions)
2014 XMR 650 CAM AM Outlander                                                applicable statutory
Line from Schedule A/B: 4.2                                                  limit

Brief description:                                       $500.00                    $0.00           11 U.S.C. § 522(d)(3) (Claimed:
kitchen table, 2 arm chairs, 6 regular                                       100% of fair market    $0.00
chairs                                                                       value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:  6                                                   applicable statutory
                                                                             limit

Brief description:                                       $500.00                    $0.00           11 U.S.C. § 522(d)(3) (Claimed:
dishwasher                                                                   100% of fair market    $0.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $3,015.00                $3,015.00          11 U.S.C. § 522(d)(3) (Claimed:
household goods & furnishings                                                100% of fair market    $3,015.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,730.00                $1,730.00          11 U.S.C. § 522(d)(3) (Claimed:
televisions, computers, dvd/cd/vcr stereo                                    100% of fair market    $1,730.00
component, camcorder, play stations.                                         value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:  7                                                   applicable statutory
                                                                             limit

Brief description:                                       $415.00                  $415.00           11 U.S.C. § 522(d)(3) (Claimed:
books, pictures & art objects, Marilyn                                       100% of fair market    $415.00
Monroe picture collection                                                    value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:  8                                                   applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           11 U.S.C. § 522(d)(3) (Claimed:
dirt bike                                                                    100% of fair market    $500.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $695.00                  $695.00           11 U.S.C. § 522(d)(3) (Claimed:
board games, arcade game, pool tables,                                       100% of fair market    $695.00
camera, exercise equipment                                                   value, up to any       100% FMV without any restrictions)
Line from Schedule A/B: 9                                                    applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           11 U.S.C. § 522(d)(3) (Claimed:
Smith & Wesson Body Armour handgun                                           100% of fair market    $200.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    10
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $350.00                  $350.00           11 U.S.C. § 522(d)(3) (Claimed:
Glock 30                                                                     100% of fair market    $350.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    10
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           11 U.S.C. § 522(d)(3) (Claimed:
Glock 26                                                                     100% of fair market    $300.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    10
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3) (Claimed:
Mossburg 12 ga.                                                              100% of fair market    $100.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    10
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3) (Claimed:
Double Tap 45                                                                100% of fair market    $100.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    10
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,180.00                $1,180.00          11 U.S.C. § 522(d)(3) (Claimed:
clothing and personal effects                                                100% of fair market    $1,180.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,240.00                $1,240.00          11 U.S.C. § 522(d)(4) (Claimed:
rings, watches, earrings, wedding rings,                                     100% of fair market    $1,240.00
costume jewelry, necklaces, bracelets                                        value, up to any       100% FMV without any restrictions)
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(3) (Claimed:
household pets: 1 cat, 3 dogs                                                100% of fair market    $0.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5) (Claimed:
cash on hand                                                                 100% of fair market    $0.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $571.14                  $571.14           11 U.S.C. § 522(d)(5) (Claimed:
Wells Fargo; checking account ending 947                                     100% of fair market    $571.14
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(8) (Claimed:
Metlife; term life policy insuring the life of                               100% of fair market    $0.00
Debtor Husband; face value $850,000.00;                                      value, up to any       100% FMV without any restrictions)
no cash value                                                                applicable statutory
Line from Schedule A/B:    31                                                limit

Brief description:                                      $1,500.00                $1,500.00          11 U.S.C. § 522(d)(6) (Claimed:
drills, volt meter, leak detector, vacuum                                    100% of fair market    $1,500.00
pump, hand tools                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    40                                                applicable statutory
                                                                             limit

Brief description:                                      $5,200.00                   $0.00           11 U.S.C. § 522(d)(6) (Claimed:
Zero Turn TRW w/60" MWR & ROPS                                               100% of fair market    $0.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    44
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $6,800.00                   $0.00           11 U.S.C. § 522(d)(6) (Claimed:
Kubota 4WD HST Tractor, Kubota, Front                                        100% of fair market    $0.00
Loader, 5'Rotay Cutter, 60: light duty box                                   value, up to any       100% FMV without any restrictions)
scrape, Kubota ROPS                                                          applicable statutory
Line from Schedule A/B: 44                                                   limit

Brief description:                                      $1,000.00                $1,000.00          11 U.S.C. § 522(d)(5) (Claimed:
Land Pride Claw Grapple 60                                                   100% of fair market    $1,000.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    44
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                    $0.00           11 U.S.C. § 522(d)(6) (Claimed:
Back Ho and Post Hole Digger                                                 100% of fair market    $0.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    44
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                    $0.00           11 U.S.C. § 522(d)(6) (Claimed:
grass catcher and line trimmer                                               100% of fair market    $0.00
                                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    44
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5
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  Fill in this information to identify your case:
  Debtor 1             Dwayne                Paul                   Bridges
                       First Name            Middle Name            Last Name

  Debtor 2            Dana                   Michelle               Bridges
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $33,513.27              $33,000.00            $513.27
Ally Financial
Creditor's name
                                                 2016 Chevrolet Corvette
PO Box 380902
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Bloomington              MN      58438               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred           7/19/16         Last 4 digits of account number        2     4    4    6




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $33,513.27

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $107,482.73             $154,160.00
Champs Properties
Creditor's name
                                              920 Lynch Bend Road
Jason Creel                                   Springtown
Number     Street
5328 Rolling Meadows Dr.
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Fort Worth              TX      76123             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          7/6/17        Last 4 digits of account number
1 acre of land: $40,000.00
2002 Palm Harbor mobile home 42x76: $114,160.00



  2.3                                         Describe the property that
                                              secures the claim:                            $16,587.49              $16,000.00           $587.49
Chrysler Capital
Creditor's name
                                              2012 Toyota Tundra
PO Box 660335
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dallas                  TX      75266-0335        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          2/7/2017      Last 4 digits of account number        2     9    5    7
third party pays direct




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $124,070.22

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                               $1,287.76                $500.00          $787.76
Conns
Creditor's name
                                              kitchen table, 2 arm chairs, 6
PO Box 815867                                 regular chairs
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dallas                  TX      75234-5867        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number        5     8    7    0

  2.5                                         Describe the property that
                                              secures the claim:                               $5,703.45              $5,315.00          $388.45
DATCU
Creditor's name
                                              2014 XMR 650 CAM AM
PO Bxo 927                                    Outlander Travis 4 wheeler
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Denton                  TX      76202-0827        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number        1     1    1    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $6,991.21

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                               $3,000.00              $2,500.00          $500.00
Direct Capital Corp
Creditor's name
                                              2005 Jeep Wrangler
155 Commerce Way
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Portsmouth              NH      03801             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Corporate debt- personal guarantor
   to a community debt
Date debt was incurred                        Last 4 digits of account number        7     0    0    1
2005 Jeep Wrangler
  2.7                                         Describe the property that
                                              secures the claim:                               $2,021.43           $154,160.00
Internal Revenue Service
Creditor's name
                                              920 Lynch Bend Road
1100 Commerce Street                          Springtown
Number     Street
MC 5027 DAL
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dallas                  TX      75242             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                1040 Taxes Due for 2014
   to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $5,021.43

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.8                                         Describe the property that
                                              secures the claim:                            $87,222.00             $154,160.00        $42,566.16
Internal Revenue Service
Creditor's name
                                              920 Lynch Bend Road
1100 Commerce Street                          Springtown
Number     Street
Stop MC5026DAL
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dallas                  TX      75242             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                1040 Taxes Due for 2016
   to a community debt
Date debt was incurred          2016          Last 4 digits of account number

  2.9                                         Describe the property that
                                              secures the claim:                            $12,348.00             $154,160.00        $12,348.00
Internal Revenue Service
Creditor's name
                                              920 Lynch Bend Road
1100 Commerce Street                          Springtown
Number     Street
Stop MC5026DAL
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dallas                  TX      75242             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                1040 Taxes Due for 2015
   to a community debt
Date debt was incurred          2015          Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $99,570.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.10                                         Describe the property that
                                              secures the claim:                               $5,269.62              $5,200.00           $69.62
Kubota Credit corp
Creditor's name
                                              Zero Turn TRW w/60" MWR &
PO Box 2046                                   ROPS
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Grapevine               TX      76099             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Corporate debt- personal guarantor
   to a community debt
Date debt was incurred                        Last 4 digits of account number        6     3    7    2

 2.11                                         Describe the property that
                                              secures the claim:                               $6,868.53              $6,800.00           $68.53
Kubota Credit Corp.
Creditor's name
                                              see remarks below
PO Box 2046
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Grapevine               TX      76099             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Corporate debt- personal guarantor
   to a community debt
Date debt was incurred                        Last 4 digits of account number        4     2    5    1
Kubota 4WD HST Tractor, Kubota, Front Loader, 5'Rotay Cutter, 60: light duty box scrape, Kubota ROPS




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $12,138.15

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 6
        Case 19-44181-elm7 Doc 1 Filed 10/10/19                            Entered 10/10/19 14:21:20                    Page 31 of 166


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.12                                         Describe the property that
                                              secures the claim:                                $886.80                 $500.00          $386.80
Kubota Credit Corp.
Creditor's name
                                              Back Ho and Post Hole Digger
PO Box 2046
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Grapevine               TX      76099             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     8    8    3

 2.13                                         Describe the property that
                                              secures the claim:                                $919.38                 $400.00          $519.38
Kubota Credit Corp.
Creditor's name
                                              grass catcher and line
PO Box 2046                                   trimmer
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Grapevine               TX      76099             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number        6     6    3    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $1,806.18

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 7
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.14                                         Describe the property that
                                              secures the claim:                            $29,869.47              $29,000.00           $869.47
Suntrust
Creditor's name
                                              2016 Toyota Tundra
PO box 305053
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Nashville               TN      37230-5063        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          12/12/15      Last 4 digits of account number        2     1    1    2

 2.15                                         Describe the property that
                                              secures the claim:                            $92,000.00             $130,951.00
Tim Moore
Creditor's name
                                              1045 Green Ridge Terrace,
302 Pine Tree Road                            Saginaw
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Longview                TX      75604             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $121,869.47

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $404,979.93

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 8
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  Fill in this information to identify your case:
  Debtor 1             Dwayne                Paul                   Bridges
                       First Name            Middle Name            Last Name

  Debtor 2            Dana                   Michelle               Bridges
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                    Last 4 digits of account number
                                                            When was the debt incurred?
Number        Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
City                             State   ZIP Code
Who incurred the debt? Check one.                           Type of PRIORITY unsecured claim:
     Debtor 1 only                                             Domestic support obligations
     Debtor 2 only                                             Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
     At least one of the debtors and another                   intoxicated
     Check if this claim is for a community debt               Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
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Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                           Case number (if known)

  Part 2:         List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $3,166.70
Absolute Resolutions Corporation                            Last 4 digits of account number         8     5    9     5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
8000 Norman Center Dr. #860
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Bloomington                     MN      55437
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Personal Loan
Is the claim subject to offset?
     No
     Yes
Avant Web Bank

     4.2                                                                                                                                               $0.00
ADT                                                         Last 4 digits of account number         1     0    8     1
Nonpriority Creditor's Name
                                                            When was the debt incurred?
5400 Airport Freeway, Ste A
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Fort Worth                      TX      76117-5928
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Services Rendered
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                               $229.26
Allstate Indeminty Company                               Last 4 digits of account number       0    0    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o CCS
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Payment Processing Center                                    Contingent
PO Box 55126                                                 Unliquidated
                                                             Disputed
Boston                        MA      02205-5126
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Insurance premiums
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                             Unknown
Ally Financial                                           Last 4 digits of account number      2 0        3    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/8/17
PO Box 78234
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85062-8234
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2017 Dodge Ram VIN 034




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.5                                                                                                                             $1,056.00
Amcol Systems, Inc.                                      Last 4 digits of account number       7    5    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 21625
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Columbia                      SC      29221
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

   4.6                                                                                                                             $2,225.00
Barclay Card                                             Last 4 digits of account number       3    3    4    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60517
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0517
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.7                                                                                                                             Unknown
Baylor Surgicare @ Mansfield                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
280 Regency Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mansfield                     TX      76063
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense: Letter of Protection
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                             $4,718.84
Bill Me Later, Inc.                                      Last 4 digits of account number       8    7    9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o PayPal Credit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 5138                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Timonium                      MD      21094
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                             $1,391.97
Blaze Mastercard                                         Last 4 digits of account number       0    1    4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2534
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2534
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                             $3,670.20
Blue Mound Business Park                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1150 Blue Mound Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Haslet                        TX      76052
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment
Is the claim subject to offset?
     No
     Yes
Blue Mound Business Park vs. Dwayne Bridges; Case No. JP04-17-E00051532
judgment lien on 1045 Green Ridge Terrace, Saginaw property




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.11                                                                                                                             $9,360.00
Blue Mound Business Park, LLC                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1150 Blue Mound Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Haslet                        TX      76052
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment
Is the claim subject to offset?
     No
     Yes
 Blue Mound Business Park, LLC vs. Dwayne Bridges; Case No. JP04-17-SC00009149
judgment lien on 1045 Green Ridge Terrace, Saginaw property

  4.12                                                                                                                             $9,379.98
Cabellas Visa                                            Last 4 digits of account number       8    8    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 82519
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lincoln                       NE      68501-2519
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.13                                                                                                                             $2,312.11
Capital One                                              Last 4 digits of account number       5    6    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0599
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                             $2,068.54
Capital One Bank USA                                     Last 4 digits of account number       2    5    7    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Scott & Associates, PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 113297                                                Contingent
                                                             Unliquidated
                                                             Disputed
Carrollton                    TX      75011-3297
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1764




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.15                                                                                                                               $665.27
Capital One Platinum Mastercard                          Last 4 digits of account number       9    2    1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0599
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                             $2,081.03
Capital One Quicksilver Mastercard                       Last 4 digits of account number       9    4    7    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0599
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1782




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.17                                                                                                                               $740.22
Cardmember Service                                       Last 4 digits of account number       6    6    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Amazon
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6294                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197-5294
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.18                                                                                                                             $5,780.99
Cardmember Service                                       Last 4 digits of account number       4    1    7    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Marriott Rewards Visa
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6294                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197-6294
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                Total claim
previous page.

  4.19                                                                                                                             $2,114.49
Chase                                                    Last 4 digits of account number       5    0    0    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6026
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Chicago                       IL      60680-6026
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
business installment loan

  4.20                                                                                                                             $6,105.00
Chase Bank                                               Last 4 digits of account number       6    5    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6543 Lake Worth Blvd,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lake Worth                    TX      76135
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- overdraft account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.21                                                                                                                               $151.00
Chase Bank                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6543 Lake Worth Blvd,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lake Worth                    TX      76135
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Overdrafted Account
Is the claim subject to offset?
     No
     Yes
checking account ending 598

  4.22                                                                                                                            $21,039.79
Chrysler Capital                                         Last 4 digits of account number      1 1        0    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/16/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge Ram 1500 VIN 064




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.23                                                                                                                            $18,758.96
Chrysler Capital                                         Last 4 digits of account number      8 4        6    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/18/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge Promaster VIN 884

  4.24                                                                                                                            $17,277.95
Chrysler Capital                                         Last 4 digits of account number      2 4        7    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/22/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge TR Promaster C1 VIN 680




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.25                                                                                                                             Unknown
Chrysler Capital                                         Last 4 digits of account number      7 5        6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/22/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge TR Promaster VIN406

  4.26                                                                                                                            $19,962.83
Chrysler Capital                                         Last 4 digits of account number      9 5        1    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/22/17
PO Box 961275
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76161-1275
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2017 Dodge TR Promaster VIN 269




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                Total claim
previous page.

  4.27                                                                                                                             Unknown
Chrysler Capital                                         Last 4 digits of account number      1 5        0    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/25/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2017 Dodge TR Promaster VIN 357

  4.28                                                                                                                             Unknown
Cintas                                                   Last 4 digits of account number       6    3    4    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6650838
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75265-0838
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.29                                                                                                                             $2,602.50
City of Fort Worth et al                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Stephen T. Meeks
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Linebarger Goggan Blair et al                                Contingent
100 Throckmorton Ste 300                                     Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Property Taxes: 1150 W. Blue Mound Road
Is the claim subject to offset?
     No
     Yes
City of Fort Worth et al vs. Dwayne Paul Bridges; Case No. 348-D17392-18

  4.30                                                                                                                            $99,086.00
Colonial Funding Network/TVT Capital, LL                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Jennifer Ballard, Esq.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
120 West 45th Street, 2nd Fl.                                Contingent
                                                             Unliquidated
                                                             Disputed
New York                      NY      10036
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
Colonial Funding Network Inc., as servicing provider for TVT Capital, LLC vs. License to Chill Heating & AIr, Inc. dba Just
Chillin Heating & Air and Dwayne Bridges (A/K/A Dwayne Paul Bridges)




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.31                                                                                                                             $2,615.15
Conns                                                    Last 4 digits of account number       5    8    3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 815867
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75234-5867
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                               $440.00
Conns                                                    Last 4 digits of account number       5    8    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 815867
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75234-5867
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.33                                                                                                                               $863.14
Conns/Synchrony Bank                                     Last 4 digits of account number       2    4    5    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 960061
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896-0061
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                               $522.36
Crown Asset Management LLC                               Last 4 digits of account number       3    5    6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o MRS BPO LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1930 Olney Ave                                               Contingent
                                                             Unliquidated
                                                             Disputed
Cherry Hill                   NJ      08003
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                Total claim
previous page.

  4.35                                                                                                                               $810.97
Discover                                                 Last 4 digits of account number       7    4    3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 790213
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63179-0213
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.36                                                                                                                            $12,575.00
Diversified Pure Chem                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Richard J. Scott
Number        Street                                     As of the date you file, the claim is: Check all that apply.
801 East Campbell Road                                       Contingent
Suite 165                                                    Unliquidated
                                                             Disputed
Richardson                    TX      75018
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.37                                                                                                                               $583.20
DNF Associates, LLC                                      Last 4 digits of account number       2    6    3    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Halsted Financial Services, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 828                                                   Contingent
                                                             Unliquidated
                                                             Disputed
Skokie                        IL      60076
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.38                                                                                                                             $1,056.01
First Choice Emergency Room                              Last 4 digits of account number       7    5    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o AMCOL Systems, Inc.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 21625                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Columbia                      SC      29221
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.39                                                                                                                             $1,437.29
First National Credit Card                               Last 4 digits of account number       0    9    4    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2496
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2496
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                            $24,499.76
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       1    7    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2004 Ford F150 VIN ending 0681




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.41                                                                                                                             Unknown
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       9    5    9    A
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2005 Chevrolet Colorodo VIN ending 1904

  4.42                                                                                                                            $19,960.12
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       1    8    9    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2006 Chevrolet Colorodo VIN ending 0526




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.43                                                                                                                            $24,759.13
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       1    8    7    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2008 Ford F150 VIN ending 5591

  4.44                                                                                                                             Unknown
First Place Auto/ In & Out Auto, LLC                     Last 4 digits of account number       1    6    3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6829 Smithfield Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
North Richland Hills          TX      76182
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2008 Chevrolet Colordo VIN 416




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.45                                                                                                                               $379.47
First Premier Mastecard                                  Last 4 digits of account number       4    3    9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5529
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.46                                                                                                                               $215.67
First Premier Mastecard                                  Last 4 digits of account number       8    0    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5529
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.47                                                                                                                               $606.62
First Premier Mastecard                                  Last 4 digits of account number       0    1    7    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5529
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.48                                                                                                                               $814.63
First Premier Mastercard                                 Last 4 digits of account number       2    3    2    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 5529
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-5529
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.49                                                                                                                             $1,575.51
First Savings Bank                                       Last 4 digits of account number       9    5    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Blaze Mastercard
Number        Street                                     As of the date you file, the claim is: Check all that apply.
c/o RGS Financial, Inc.                                      Contingent
PO Box 852039                                                Unliquidated
                                                             Disputed
Richardson                    TX      75085-2039
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.50                                                                                                                             $1,771.96
First Savings Credit Mastercard                          Last 4 digits of account number       3    0    3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2509
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2509
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.51                                                                                                                             Unknown
Fleetmatics USA LLC                                      Last 4 digits of account number       6    2    5    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1100 Winter Street, Ste 4600
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Waltham                       MA      02451
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes
contract/lease for vehicle tracking systems

  4.52                                                                                                                             $8,560.28
Gandermountaine Mastercard                               Last 4 digits of account number       4    9    6    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 659569
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78265-9569
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.53                                                                                                                               $100.23
Geico Indeminity Company                                 Last 4 digits of account number       4    8    5    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o CCS
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Payment Processing Center                                    Contingent
PO Box 55126                                                 Unliquidated
                                                             Disputed
Boston                        MA      02205-5126
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Insurance premiums
Is the claim subject to offset?
     No
     Yes

  4.54                                                                                                                             Unknown
Gene De Bullet & Associates                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2315 N. Main Street,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 300                                                      Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76164
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Ignacio Diaz and Leila Delgado vs. Dwayne Bridges and Dana Bridges, Individually and as next friend of Landon Bridges;
Case No. 2015-002861-3




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.55                                                                                                                             $1,039.00
Hawk Security                                            Last 4 digits of account number       0    4    8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
My Alarm Center
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3803 West Chester Pike, Ste 100                              Contingent
                                                             Unliquidated
                                                             Disputed
Newton Square                 PA      19073
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Services Rendered
Is the claim subject to offset?
     No
     Yes
site address: 628 Destin Dr., Fort Worth, Texas 76131-4255

  4.56                                                                                                                             Unknown
Hays Potter & Martin LLP                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o James W. Hays
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3945 Holcomb Bridge Road, Ste 300                            Contingent
                                                             Unliquidated
                                                             Disputed
Peachtree Corners             GA      30092
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
IOU Central, Inc. vs. License to Chill Heating & Air Inc. d/b/a Just Chillin Heating and Dwayne Bridges; Case No. 19-A-477




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.57                                                                                                                             Unknown
Healthport                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 409740
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Atlanta                       GA      30384-9740
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes

  4.58                                                                                                                            $39,288.00
Ignacio Diaz & Leila Delgado                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Jim Zadeh, PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
115 W. 2nd Street. Ste 201                                   Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment; personal injury
Is the claim subject to offset?
     No
     Yes
Ignacio Diaz and Leila Delgado vs. Dwayne Bridges and Dana Bridges, Individually and as next friend of Landon Bridges
Case No. 2015-002861-3




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.59                                                                                                                               $219.16
Indigo Mastercard                                        Last 4 digits of account number       4    0    2    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 205458
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75320-5458
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.60                                                                                                                            $80,986.54
IOU Central, Inc.                                        Last 4 digits of account number       9    5    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
600 Town Park Lane
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 100                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Kennesaw                      GA      30144
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
IOU Central, Inc. vs. License to Chill Heating & Air Inc. d/b/a Just Chillin Heating and Dwayne Bridges; Case No. 19-A-477




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.61                                                                                                                               $557.21
Jefferson Capital Systems, LLC                           Last 4 digits of account number       9    9    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Dynamic Recovery Solutions
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 25759                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29616-0759
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.62                                                                                                                             $1,423.24
Jefferson Capital Systems, LLC                           Last 4 digits of account number       2    1    1    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Alpha Recovery Corp.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
6912 S. Quentin St., Unit 10                                 Contingent
                                                             Unliquidated
                                                             Disputed
Centennial                    CO      80012
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Fingerhut




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.63                                                                                                                               $557.21
Jefferson Capital Systems, LLC                           Last 4 digits of account number       9    9    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
16 McLeland Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Cloud                   MN      56303
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.64                                                                                                                             Unknown
Jim Zadeh, PC                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
115 W. 2nd Street, Ste 201
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Ignacio Diaz and Leila Delgado vs. Dwayne Bridges and Dana Bridges, Individually and as next friend of Landon Bridges;
Case No. 2015-002861-3




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.65                                                                                                                               $370.50
John J. McNeff, DDS                                      Last 4 digits of account number       0    2    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5920 Watauga Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Watauga                       TX      76148
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.66                                                                                                                                $55.08
Laboratory Corporation of America                        Last 4 digits of account number       4    2    8    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o AMCA
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 1235                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Elmsford                      NY      10523-0935
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.67                                                                                                                             $1,675.35
Legacy Visa                                              Last 4 digits of account number       0    9    4    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2496
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2509
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.68                                                                                                                            $41,280.07
Lennox Industries, Inc.                                  Last 4 digits of account number       7    7    5    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Patrick J. Schurr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Scheef & Stone, LLP                                          Contingent
2600 Network Blvd, Ste 400                                   Unliquidated
                                                             Disputed
Frisco                        TX      75035
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment: Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
Lennox Industries, Inc. vs. Dewayne Bridges and License to Chill Heating and Air, Inc. d/b/a Just Chillin Heating & Air; Case
No. DC-17-14995




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.69                                                                                                                             Unknown
Linebarger, Goggan, Blair & Sampson                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Bankruptcy Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
100 Throckmorton                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
City of Fort Worth et al vs. Dwayne Paul Bridges; Case No. 348-D17392-18

  4.70                                                                                                                               $386.84
LVNV Funding LLC                                         Last 4 digits of account number            7    8    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Allied Interstate
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 361445                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43236
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.71                                                                                                                             $1,067.96
LVNV Funding, LLC                                        Last 4 digits of account number       4    4    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Halsted Financial Services, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 828                                                   Contingent
                                                             Unliquidated
                                                             Disputed
Skokie                        IL      60076
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.72                                                                                                                             Unknown
Mark Dirnberger D.O. P.A.                                Last 4 digits of account number       1    2    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn # 15558C
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 14000                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Belfast                       ME      04915
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.73                                                                                                                             $7,657.03
Mary M. Hudgens, PLLC                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
CPA
Number        Street                                     As of the date you file, the claim is: Check all that apply.
935 W. Glade Road                                            Contingent
Hurst, Texasd 76054                                          Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes
preparation of 2016 and 2017 tax returns

  4.74                                                                                                                             $2,399.58
Medcredit                                                Last 4 digits of account number       6    4    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1629
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Maryland Heights              MO      63043
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.75                                                                                                                             Unknown
Medical Center Alliance                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10030 N. Macarthur Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Irving                        TX      75063-5001
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes

  4.76                                                                                                                             $1,371.66
Merrick Bank                                             Last 4 digits of account number       8    2    9    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 9201
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Old Bethpage                  NY      11804
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.77                                                                                                                             Unknown
Mid Cities Imaging                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 83585
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Richardson                    TX      75083
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes

  4.78                                                                                                                             $1,391.85
Midland Funding LLC                                      Last 4 digits of account number       1    6    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Atlantic Credit & Finance Inc.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 13386                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Roanoke                       VA      24033-3386
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.79                                                                                                                               $227.92
Milestone                                                Last 4 digits of account number       3    4    9    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 84059
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      GA      31908-4059
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.80                                                                                                                             $6,593.14
Northern Leasing Systems                                 Last 4 digits of account number       3    0    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 7861
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
New York                      NY      10116
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Non-Consumer Debt
Is the claim subject to offset?
     No
     Yes
contract/lease for credit card machine
Bridges Auto Sales




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.81                                                                                                                             $3,946.00
One Main                                                 Last 4 digits of account number       7    9    6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 790368
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63179-0368
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal Loan
Is the claim subject to offset?
     No
     Yes

  4.82                                                                                                                               $354.87
Orion Portfolio Services, II LLC                         Last 4 digits of account number       1    4    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Transworld Systems, Inc.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15095                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850-5095
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.83                                                                                                                               $330.00
Paramount Recovery Systems                               Last 4 digits of account number       8    7    3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7524 Bosque Blvd, Ste L
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Robinson                      TX      76706
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

  4.84                                                                                                                               $191.00
Paramount Recovery Systems                               Last 4 digits of account number       8    7    3    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7524 Bosque Blvd, Ste L
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Waco                          TX      76712
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.85                                                                                                                                 $0.00
Pay Pal Mastercard                                       Last 4 digits of account number       1    6    1    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2211 North First Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Jose                      CA      95131
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.86                                                                                                                             $4,997.00
Phoenix Financial Services                               Last 4 digits of account number       1    8    9    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8908 Otis Ave., Suite 103A
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Indianaoplis                  IN      46216
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.87                                                                                                                             $1,974.09
Portfolio Recovery Associates, LLC                       Last 4 digits of account number       3    5    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 12914
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Norfolk                       VA      23541
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.88                                                                                                                               $860.95
Portfolio Recovery Associates, LLC                       Last 4 digits of account number       4    0    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: AYR
Number        Street                                     As of the date you file, the claim is: Check all that apply.
140 Corporate Blvd                                           Contingent
                                                             Unliquidated
                                                             Disputed
Norfolk                       VA      23502
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Amazon




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.89                                                                                                                               $297.80
Protection 1                                             Last 4 digits of account number       1    0    8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 219044
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Kansas City                   MO      64121-9044
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes

  4.90                                                                                                                                $33.00
Radiology Associates of North Texas                      Last 4 digits of account number       T    C    R    A
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1723
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Indianapolis                  IN      46206-1723
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.91                                                                                                                             Unknown
Rausch Sturm                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15660 North Dallas Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 350                                                      Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75248
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Synchrony Bank vs. Dana Bridges; Case No. DC2-19-1459

  4.92                                                                                                                             Unknown
Rent to Own                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 1717
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Denton                        TX      76202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
contract/lease: 40 HC Container




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.93                                                                                                                               $146.09
Republic Svcs-Arlington #794                             Last 4 digits of account number       8    7    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 78829
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85062-8829
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes

  4.94                                                                                                                             Unknown
Richard J. Scott, Attorney                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
801 East Campbell Road, Ste 165
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Richardson                    TX      75018
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.95                                                                                                                             Unknown
Scott & Associates, PC                                   Last 4 digits of account number       2    0    1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attorneys at Law
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 115220                                                Contingent
                                                             Unliquidated
                                                             Disputed
Carrollton                    TX      75011-5220
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1764

  4.96                                                                                                                             Unknown
Scott & Associates, PC                                   Last 4 digits of account number       5    1    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attorneys at Law
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 113297                                                Contingent
                                                             Unliquidated
                                                             Disputed
Carrollton                    TX      75011-3297
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1782




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.97                                                                                                                             Unknown
Sheef & Stone, LLP                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Patrick J. Schurn
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2600 Network Blvd,                                           Contingent
Ste 400                                                      Unliquidated
                                                             Disputed
Frisco                        TX      75034
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorneys fees
Is the claim subject to offset?
     No
     Yes
Lennox Industries, Inc. vs. Dewayne Bridges and License to Chill Heating and Air, Inc. d/b/a Just Chillin Heating & Air; Case
No. DC-17-14995

  4.98                                                                                                                             Unknown
Sheffield                                                Last 4 digits of account number       0    9    8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 580229
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Charlotte                     NC      28258-0889
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2016 CAM AM Maverick ATV




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.99                                                                                                                             $1,093.43
Synchrony Bank/JC Penneys                                Last 4 digits of account number       6    3    2    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 965009
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896-5009
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Synchrony Bank vs. Dana Bridges; Case No. DC2-19-1459

 4.100                                                                                                                             $1,222.76
Tarrant County Tax Collector                             Last 4 digits of account number       2    9    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
100 E Weatherford St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76196
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes
2017 business personal property tangible commerical tax liability




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.101                                                                                                                               $958.61
Tarrant County Tax Collector                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
100 E Weatherford St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76196
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt
Is the claim subject to offset?
     No
     Yes
2018 business personal property tangible commerical tax liability

 4.102                                                                                                                             Unknown
Texas Back Institute                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6020 W. Parker Road, Ste 200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Plano                         TX      75093
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.103                                                                                                                               $151.57
Texas Health Resources                                   Last 4 digits of account number       3    3    1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
500 E. Border Street #130
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.104                                                                                                                               $759.29
Texas Health Resources                                   Last 4 digits of account number       8    4    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Payment Processing Center
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 733546                                                Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75373-3546
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.105                                                                                                                               $952.00
Texas Medicine Resources                                 Last 4 digits of account number       4    9    7    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 8549
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76124-0549
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.106                                                                                                                               $128.00
Texas Radiology Associates                               Last 4 digits of account number       6    4    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.107                                                                                                                               $115.00
Texas Radiology Associates                               Last 4 digits of account number       6    4    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.108                                                                                                                               $247.86
Total                                                    Last 4 digits of account number       4    0    8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 88940
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57109
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.109                                                                                                                               $104.24
Total Visa                                               Last 4 digits of account number       1    8    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 89940
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57109
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

 4.110                                                                                                                            $12,471.69
Toyota Financial                                         Last 4 digits of account number      4 3        1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/3/15
PO Box 5236
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Carol Stream                  IL      60197-5236
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2016 Toyota Sequioq




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.111                                                                                                                             $3,586.00
U.S. Anesthesia Partners                                 Last 4 digits of account number       2    2    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.112                                                                                                                             $1,824.00
U.S. Anesthesia Partners                                 Last 4 digits of account number       2    2    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.113                                                                                                                             $1,596.00
U.S. Anethesia Partners                                  Last 4 digits of account number       2    2    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Synerprise Consulting
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5651 Broadmoor                                               Contingent
                                                             Unliquidated
                                                             Disputed
Mission                       KS      66202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.114                                                                                                                             Unknown
United Joint & Spine Institute                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5651 E. Lancaster Ave #200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76112
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes
Auto Accident: 11/15/15




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.115                                                                                                                             $1,100.87
United Revenue Corp                                      Last 4 digits of account number       6    8    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.116                                                                                                                               $738.15
United Revenue Corp                                      Last 4 digits of account number       2    4    8    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.117                                                                                                                             $1,104.77
United Revenue Corp                                      Last 4 digits of account number       2    4    8    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.118                                                                                                                               $635.00
United Revenue Corp                                      Last 4 digits of account number       8    7    9    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.119                                                                                                                               $947.00
United Revenue Corp                                      Last 4 digits of account number       6    9    7    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.120                                                                                                                               $423.00
United Revenue Corp                                      Last 4 digits of account number       5    1    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.121                                                                                                                               $250.00
United Revenue Corp                                      Last 4 digits of account number       9    8    8    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.122                                                                                                                               $550.18
United Revenue Corp                                      Last 4 digits of account number       9    8    8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.123                                                                                                                               $661.00
United Revenue Corp                                      Last 4 digits of account number       9    0    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.124                                                                                                                               $635.00
United Revenue Corp                                      Last 4 digits of account number       4    0    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.125                                                                                                                               $947.47
United Revenue Corp                                      Last 4 digits of account number       0    8    2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.126                                                                                                                               $738.00
United Revenue Corp                                      Last 4 digits of account number       5    1    9    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.127                                                                                                                               $423.00
United Revenue Corp                                      Last 4 digits of account number       2    4    6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

 4.128                                                                                                                             $1,254.04
United Revenue Corp                                      Last 4 digits of account number       7    1    9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
204 Billings Street, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76010
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 65
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.129                                                                                                                             Unknown
Urology Associates of North Texas                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Medical Records Dept.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
900 Airport Freeway, Ste158                                  Contingent
                                                             Unliquidated
                                                             Disputed
Hurst                         TX      76054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical Expense; Letter of Protection
Is the claim subject to offset?
     No
     Yes

 4.130                                                                                                                             $4,119.50
US Auto Credit                                           Last 4 digits of account number       8    1    0    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 57545
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Jacksonville                  FL      32241
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deficiency balance on previously secured account
Is the claim subject to offset?
     No
     Yes
2008 Honda Civic
balance owed after insurance claim paid




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 66
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

 4.131                                                                                                                             $7,111.60
Verizon Connect KFA Fleetmatics                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Guest & Associates, PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 696                                                   Contingent
                                                             Unliquidated
                                                             Disputed
DeKalb                        TX      75559
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate Debt - Notice Only
Is the claim subject to offset?
     No
     Yes

 4.132                                                                                                                               $251.65
Woodhills Labs                                           Last 4 digits of account number       8    9    4    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7589 Preston Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 700                                                      Contingent
                                                             Unliquidated
                                                             Disputed
Frisco                        TX      75034-5675
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 67
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

 4.133                                                                                                                                $179.08
Woodhills Labs                                           Last 4 digits of account number       9    8    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7589 Preston Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 700                                                      Contingent
                                                             Unliquidated
                                                             Disputed
Frisco                        TX      75034-5675
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 68
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                   Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $589,049.03


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $589,049.03




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 69
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 Fill in this information to identify your case:
 Debtor 1             Dwayne                Paul                   Bridges
                      First Name            Middle Name            Last Name

 Debtor 2            Dana                   Michelle               Bridges
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Fleetmatics USA LLC                                                          vehicle tracking systems
          Name                                                                         Contract to be REJECTED
          1100 Winter Street, Ste 4600
          Number    Street                                                             Contract is in DEFAULT


          Waltham                                      MA        02451
          City                                         State     ZIP Code

 2.2      Hawk Security                                                                security service agreement
          Name                                                                         Contract to be REJECTED
          My Alarm Center
          Number    Street                                                             Contract is in DEFAULT
          3803 West Chester Pike, Ste 100

          Newton Square                                PA        19073
          City                                         State     ZIP Code

 2.3      Northern Leasing Systems                                                     credit card machine
          Name                                                                         Contract to be REJECTED
          525 Washington Blvd, 15th Floor                                              Contract is in DEFAULT
          Number    Street



          Jersey City                                  NJ        07310
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1              Dwayne                 Paul                        Bridges
                       First Name             Middle Name                 Last Name

 Debtor 2            Dana                     Michelle                    Bridges
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                            Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                Dana Michelle Bridges
                Name of your spouse, former spouse, or legal equivalent
                920 Lynch Bend Rd.
                Number          Street


                Springtown                                      TX              76082
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      Landon Bridges
         Name                                                                                          Schedule D, line        2.3
         920 Lynch Bend Road                                                                           Schedule E/F, line
         Number        Street
                                                                                                       Schedule G, line

         Springtown                                     TX                76082                  Chrysler Capital
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                            Case number (if known)

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt

                                                                                    Check all schedules that apply:

3.2     License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line
        Number       Street
                                                                                                                4.2
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               ADT
        City                                   State       ZIP Code


3.3     License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line
        Number       Street
                                                                                                                4.4
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Ally Financial
        City                                   State       ZIP Code


3.4     License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line
        Number       Street
                                                                                                               4.19
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Chase
        City                                   State       ZIP Code


3.5     License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line
        Number       Street
                                                                                                               4.20
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Chase Bank
        City                                   State       ZIP Code


3.6     License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line     4.21
        Number       Street
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Chase Bank
        City                                   State       ZIP Code


3.7     License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line     4.22
        Number       Street
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Chrysler Capital
        City                                   State       ZIP Code




Official Form 106H                                     Schedule H: Your Codebtors                                              page 2
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                            Case number (if known)

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt

                                                                                    Check all schedules that apply:

3.8     License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line
        Number       Street
                                                                                                               4.23
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Chrysler Capital
        City                                   State       ZIP Code


3.9     License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line
        Number       Street
                                                                                                               4.24
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Chrysler Capital
        City                                   State       ZIP Code


3.10    License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line
        Number       Street
                                                                                                               4.25
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Chrysler Capital
        City                                   State       ZIP Code


3.11    License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line
        Number       Street
                                                                                                               4.26
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Chrysler Capital
        City                                   State       ZIP Code


3.12    License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line     4.27
        Number       Street
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Chrysler Capital
        City                                   State       ZIP Code


3.13    License to Chill Heating & Air, Inc.
        Name                                                                            Schedule D, line
        dba Just Chilling Heating and Air                                               Schedule E/F, line     4.28
        Number       Street
        Ste 201                                                                         Schedule G, line

        Springtown                             TX          76082-2916               Cintas
        City                                   State       ZIP Code




Official Form 106H                                     Schedule H: Your Codebtors                                              page 3
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                            Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt

                                                                                   Check all schedules that apply:

3.14   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line      2.6
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Direct Capital Corp
       City                                   State       ZIP Code


3.15   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                              4.36
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Diversified Pure Chem
       City                                   State       ZIP Code


3.16   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                              4.51
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Fleetmatics USA LLC
       City                                   State       ZIP Code


3.17   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                              4.56
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Hays Potter & Martin LLP
       City                                   State       ZIP Code


3.18   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line     4.60
       Number        Street
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               IOU Central, Inc.
       City                                   State       ZIP Code


3.19   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line     2.10
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Kubota Credit corp
       City                                   State       ZIP Code




Official Form 106H                                    Schedule H: Your Codebtors                                              page 4
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                            Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt

                                                                                   Check all schedules that apply:

3.20   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line     2.11
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Kubota Credit Corp.
       City                                   State       ZIP Code


3.21   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                               5.8
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Lennox Ind
       City                                   State       ZIP Code


3.22   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                              4.68
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Lennox Industries, Inc.
       City                                   State       ZIP Code


3.23   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                              4.73
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Mary M. Hudgens, PLLC
       City                                   State       ZIP Code


3.24   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line     4.89
       Number        Street
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Protection 1
       City                                   State       ZIP Code


3.25   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line     4.92
       Number        Street
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Rent to Own
       City                                   State       ZIP Code




Official Form 106H                                    Schedule H: Your Codebtors                                              page 5
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                            Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt

                                                                                   Check all schedules that apply:

3.26   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                              4.93
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Republic Svcs-Arlington #794
       City                                   State       ZIP Code


3.27   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                              4.94
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Richard J. Scott, Attorney
       City                                   State       ZIP Code


3.28   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                              4.97
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Sheef & Stone, LLP
       City                                   State       ZIP Code


3.29   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line
       Number        Street
                                                                                                             4.100
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Tarrant County Tax Collector
       City                                   State       ZIP Code


3.30   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line    4.101
       Number        Street
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Tarrant County Tax Collector
       City                                   State       ZIP Code


3.31   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       dba Just Chilling Heating and Air                                               Schedule E/F, line    4.131
       Number        Street
       Ste 201                                                                         Schedule G, line

       Springtown                             TX          76082-2916               Verizon Connect KFA Fleetmatics
       City                                   State       ZIP Code




Official Form 106H                                    Schedule H: Your Codebtors                                              page 6
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                            Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt

                                                                                   Check all schedules that apply:

3.32   License to Chill Heating & Air, Inc.
       Name                                                                            Schedule D, line
       d/b/a Chillin Heating & Air                                                     Schedule E/F, line
       Number        Street
                                                                                                              4.30
                                                                                       Schedule G, line
                                                                                   Colonial Funding Network/TVT Capital, LL
       City                                   State       ZIP Code




Official Form 106H                                    Schedule H: Your Codebtors                                              page 7
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 Fill in this information to identify your case:
     Debtor 1              Dwayne               Paul                   Bridges
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Dana                 Michelle               Bridges                                  An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Texas Best Heating & Air

      Occupation may include            Employer's address     924 Lynch Bend Road
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Springtown                   TX      76082
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        9 months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.               $10,833.33                    $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.            $10,833.33                    $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                                                           Case number (if known)
                                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                                            non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.            $10,833.33            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                     5a.           $2,305.51                   $0.00
     5b. Mandatory contributions for retirement plans                                                      5b.               $0.00                   $0.00
     5c. Voluntary contributions for retirement plans                                                      5c.               $0.00                   $0.00
     5d. Required repayments of retirement fund loans                                                      5d.               $0.00                   $0.00
     5e. Insurance                                                                                         5e.               $0.00                   $0.00
     5f. Domestic support obligations                                                                      5f.               $0.00                   $0.00
     5g. Union dues                                                                                        5g.               $0.00                   $0.00
     5h. Other deductions.
          Specify:                                                                                         5h. +                $0.00                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.            $2,305.51                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                        Subtract line 6 from line 4.            7.            $8,527.82                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                              8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                            8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                       8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                         8d.                  $0.00                $0.00
     8e. Social Security                                                                                   8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                          8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                      8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                          8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                9.                   $0.00                $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $8,527.82 +             $0.00 =                                                  $8,527.82
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                            11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                            12.            $8,527.82
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                  Combined
                                                                                                                                                                    monthly income




Official Form 106I                                                              Schedule I: Your Income                                                                      page 2
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                   Case number (if known)
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                      Schedule I: Your Income                                        page 3
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Dwayne                 Paul                   Bridges                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Dana                   Michelle               Bridges
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Son                                 15
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Daughter                            4
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,262.52
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $100.00

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                    Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                    $175.00
     6b. Water, sewer, garbage collection                                                           6b.                    $140.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                     $900.00
8.   Childcare and children's education costs                                                       8.                     $125.00
9.   Clothing, laundry, and dry cleaning                                                            9.                     $100.00
10. Personal care products and services                                                             10.                    $125.00
11. Medical and dental expenses                                                                     11.                    $400.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                    $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                     $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.                   $120.00
     15b.   Health insurance                                                                        15b.                   $150.00
     15c.   Vehicle insurance                                                                       15c.                   $247.20
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    2016 Chevrolet                                            17a.                  $1,112.02
     17b.   Car payments for Vehicle 2    2016 Toyota Tundra                                        17b.                  $1,204.75
     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify: IRS Installment                                                         17d.                  $2,050.00
18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                          page 2
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                            Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.             $8,511.49
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.             $8,511.49

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.             $8,527.82
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –         $8,511.49
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.               $16.33

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Discretionary expenses will be adjusted based on income




 Official Form 106J                                         Schedule J: Your Expenses                                             page 3
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 Fill in this information to identify your case:
 Debtor 1                Dwayne                        Paul                          Bridges
                         First Name                    Middle Name                   Last Name

 Debtor 2            Dana                              Michelle                      Bridges
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $285,111.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $117,811.14
     1b. Copy line 62, Total personal property, from Schedule A/B....................................................................................................................................................


                                                                                                                                                                            $402,922.14
     1c. Copy line 63, Total of all property on Schedule A/B..............................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $404,979.93
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $589,049.03
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $994,028.96




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $8,527.82
     Copy your combined monthly income from line 12 of Schedule I..................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $8,511.49




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                        Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Dwayne              Paul                 Bridges
                    First Name          Middle Name          Last Name

 Debtor 2            Dana               Michelle             Bridges
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Dwayne Paul Bridges                              X /s/ Dana Michelle Bridges
        Dwayne Paul Bridges, Debtor 1                         Dana Michelle Bridges, Debtor 2

        Date 10/10/2019                                       Date 10/10/2019
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1            Dwayne                  Paul                 Bridges
                     First Name              Middle Name          Last Name

 Debtor 2            Dana                    Michelle             Bridges
 (Spouse, if filing) First Name              Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
        No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        628 Destin Dr.                                     From    1/1/10                                                        From
        Number      Street                                                      Number      Street
                                                           To      7/2017                                                        To


        Fort Worth                TX       76131
        City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                     Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,            $62,200.00       Wages, commissions,                $500.00
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $81,700.00       Wages, commissions,            $47,000.00
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,          $155,600.00        Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income          Gross income
                                                  Describe below.             from each source     Describe below.            from each source
                                                                              (before deductions                              (before deductions
                                                                              and exclusions                                  and exclusions

From January 1 of the current year until                                                           personal injury proceeds          $31,761.94
the date you filed for bankruptcy:



For the last calendar year:
(January 1 to December 31, 2018 )
                                YYYY



For the calendar year before that:                partial 2015 PI settlment   $4,000.00
(January 1 to December 31, 2017 )                 insurance proceeds: 2008 Honda
                                                                              $4,645.40
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                        Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Ally Financial                                                                   $3,336.06           $33,513.27             Mortgage
Creditor's name                                                                                                             Car
                                                              monthly last 90 days
PO Box 380902                                                                                                               Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Bloomington                         MN       58438                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Internal Revenue Service                                                         $6,150.00          $102,474.33             Mortgage
Creditor's name                                                                                                             Car
                                                              monthly last 90 days
1100 Commerce Street                                                                                                        Credit card
Number     Street
                                                                                                                            Loan repayment
MC 5027 DAL
                                                                                                                            Suppliers or vendors
Dallas                              TX       75242                                                                          Other tax liability
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Champs Properties                                                                $3,787.56          $107,482.73             Mortgage
Creditor's name                                                                                                             Car
                                                              monthly last 90 days
Jason Creek                                                                                                                 Credit card
Number     Street
                                                                                                                            Loan repayment
5328 Rolling Meadows Dr.
                                                                                                                            Suppliers or vendors
Fort Worth                          TX       76123                                                                          Other Contract for Deed; home
City                                State    ZIP Code




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

                                                           Dates of       Total amount        Amount you           Was this payment for...
                                                           payment        paid                still owe
See Schedule J                                                                                                         Mortgage
Creditor's name                                                                                                        Car
                                                           re-occuring monthly expenses
                                                                                                                       Credit card
Number      Street
                                                                                                                       Loan repayment
                                                                                                                       Suppliers or vendors
                                                                                                                       Other
City                              State    ZIP Code

                                                           Dates of       Total amount        Amount you           Was this payment for...
                                                           payment        paid                still owe
Lennox Industries, Inc.                                                       $1,500.00          $41,280.07            Mortgage
Creditor's name                                                                                                        Car
                                                           monthly last 90 days
c/o Patrick J. Schurr                                                                                                  Credit card
Number      Street
                                                                                                                       Loan repayment
Scheef & Stone, LLP
                                                                                                                       Suppliers or vendors
Frisco                            TX       75035                                                                       Other corporate debt-judgment
City                              State    ZIP Code

                                                           Dates of       Total amount        Amount you           Was this payment for...
                                                           payment        paid                still owe
Suntrust                                                                      $1,204.75          $29,869.47            Mortgage
Creditor's name                                                                                                        Car
                                                           monthly last 90 days
PO box 305053                                                                                                          Credit card
Number      Street
                                                                                                                       Loan repayment
                                                                                                                       Suppliers or vendors
Nashville                         TN       37230-5063                                                                  Other
City                              State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                         Case number (if known)

 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                               Nature of the case                           Court or agency                               Status of the case
Dana & Dwayn Bridges,                    Personal Injury Claim:               67th Judicial District Court
                                                                                                                                              Pending
Individually et al                       Dana and Dwayne Bridges,             Court Name
                                         Individually and as next friends of Tarrant County, Texas                                            On appeal
                                         C.B., a Minor, and Amber Corbin,     Number    Street
Case number 67-282975-15                 as Next Friend of E.C. , a Minor vs.                                                                 Concluded
                                         Afton Nicole Burkard and State
                                         Farm County Mutual Insurance         City                   State               ZIP Code
                                         Company of Texas
                                         Personal Injury involving an auto
                                         accident which occured on
                                         November 15, 2015; case has
                                         settled; however attorney
                                         representing Debtors passed
                                         away before disbursement of
                                         settlement funds; State of Texas
                                         issued Debtors check for
                                         $31,761.94 in or about January
                                         2019


Case title                               Nature of the case                           Court or agency                               Status of the case
Igmacio Diaz and Leila Delgado           Ignacio Diaz and Leila Delgado vs.           County Court @ Law No. 3
                                                                                                                                              Pending
vs. Bridges et al                        Dwayne Bridges and Dana                      Court Name
                                         Bridges, Individually and as next            Tarrant County, Texas                                   On appeal
                                         friend of Landon Bridges                     Number     Street
Case number 2015-002861-3                                                                                                                     Concluded


                                                                                      City                       State   ZIP Code


Case title                               Nature of the case                           Court or agency                               Status of the case
Blue Mound Business Park,                debt collection                              Justice of the Peace, Precinct 4
                                                                                                                                              Pending
LLC vs. Dwayne Bridges                                                                Court Name
                                                                                      Tarrant County, Texas                                   On appeal
                                                                                      Number     Street
Case number JP04-17-SC00009149                                                                                                                Concluded


                                                                                      City                       State   ZIP Code


Case title                               Nature of the case                           Court or agency                               Status of the case
Blue Mound Business Park vs.             business debt collection                     Justice Court, Precinct 4
                                                                                                                                              Pending
Dwayne Bridges                                                                        Court Name
                                                                                      Tarrant County, Texas                                   On appeal
                                                                                      Number     Street
Case number JP04-17-E00051532                                                                                                                 Concluded


                                                                                      City                       State   ZIP Code




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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                   Case number (if known)

Case title                          Nature of the case                        Court or agency                             Status of the case
Colonial Funding Network Inc.       Colonial Funding Network Inc., as Supreme Court of the State of New
                                                                                                                                    Pending
vs. License to Chill et al          servicing provider for TVT Capital, York
                                    LLC vs. License to Chill Heating & Court Name                                                   On appeal
                                    AIr, Inc. dba Just Chillin Heating & County of New York
Case number 655613/2016             Air and Dwayne Bridges (A/K/A        Number  Street                                             Concluded
                                    Dwayne Paul Bridges)

                                                                              City                     State   ZIP Code


Case title                          Nature of the case                        Court or agency                             Status of the case
Lennox Industries, Inc. vs.         Lennox Industries, Inc. vs.               44th Judicial District Court
                                                                                                                                    Pending
Dewayne Bridges et al               Dewayne Bridges and License to            Court Name
                                    Chill Heating and Air, Inc. d/b/a         Dallas County, Texas                                  On appeal
                                    Just Chillin Heating & Air;               Number     Street
Case number DC-17-14995                                                                                                             Concluded


                                                                              City                     State   ZIP Code


Case title                          Nature of the case                        Court or agency                             Status of the case
City of Fort Worth et al vs.        property tax debt collection              348th Judicial District Court
                                                                                                                                    Pending
Dwayne Paul Bridges                                                           Court Name
                                                                              Tarrant County, Texas                                 On appeal
                                                                              Number     Street
Case number 348-D17392-18                                                                                                           Concluded


                                                                              City                     State   ZIP Code


Case title                          Nature of the case                        Court or agency                             Status of the case
IOU Central, Inc. vs. License to    business debt collection                  State Court of Cobb County
                                                                                                                                    Pending
Chill Heating & Air et al                                                     Court Name
                                                                              State of Georgia                                      On appeal
                                                                              Number     Street
Case number 19-A-477                                                                                                                Concluded


                                                                              City                     State   ZIP Code


Case title                          Nature of the case                        Court or agency                             Status of the case
Synchrony Bank vs. Dana             consumer debt collection                  Justice Court, Precinct 2
                                                                                                                                    Pending
Bridges                                                                       Court Name
                                                                              Parker County, Texas                                  On appeal
                                                                              Number     Street
Case number DC2-19-1459                                                                                                             Concluded


                                                                              City                     State   ZIP Code


Case title                          Nature of the case                        Court or agency                             Status of the case
Capital One vs. Dwayne P.           debt collection                           Justice of the Peace, Precinct 2,
                                                                                                                                    Pending
Bridges                                                                       Court Name
                                                                              Parker County, Texas                                  On appeal
                                                                              Number     Street
Case number DC2-19-1764                                                                                                             Concluded


                                                                              City                     State   ZIP Code




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Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                         Case number (if known)

Case title                                   Nature of the case                        Court or agency                              Status of the case
Capital One vs. Dwayne P.                    debt collection                           Justice of the Peace, Precinct 2
                                                                                                                                              Pending
Bridges                                                                                Court Name
                                                                                       Parker County, Texas                                   On appeal
                                                                                       Number     Street
Case number DC2-19-1782                                                                                                                       Concluded


                                                                                       City                     State    ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                             Describe the property                            Date             Value of the property
First Place Auto/ In & Out Auto, LLC                         2004 Ford F150 VIN ending 0681                        10/31/17
Creditor's Name

6829 Smithfield Road
Number       Street                                          Explain what happened
                                                                Property was repossessed.
                                                                Property was foreclosed.
North Richland Hills                TX         76182            Property was garnished.
City                                State      ZIP Code         Property was attached, seized, or levied.

                                                             Describe the property                            Date             Value of the property
First Place Auto/ In & Out Auto, LLC                         2005 Chevrolet Colordo VIN ending 1904                10/31/17
Creditor's Name

6829 Smithfield Road
Number       Street                                          Explain what happened
                                                                Property was repossessed.
                                                                Property was foreclosed.
North Richland Hills                TX         76182            Property was garnished.
City                                State      ZIP Code         Property was attached, seized, or levied.

                                                             Describe the property                            Date             Value of the property
First Place Auto/ In & Out Auto, LLC                         2006 Chevrolet Cororodo VIN ending                    10/31/17
Creditor's Name                                              0526
6829 Smithfield Road
Number       Street                                          Explain what happened
                                                                Property was repossessed.
                                                                Property was foreclosed.
North Richland Hills                TX         76182            Property was garnished.
City                                State      ZIP Code         Property was attached, seized, or levied.

                                                             Describe the property                            Date             Value of the property
First Place Auto/ In & Out Auto, LLC                         2008 Ford F150 VIN ending 5591                        10/31/17
Creditor's Name

6829 Smithfield Road
Number       Street                                          Explain what happened
                                                                Property was repossessed.
                                                                Property was foreclosed.
North Richland Hills                TX         76182            Property was garnished.
City                                State      ZIP Code         Property was attached, seized, or levied.




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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

                                                      Describe the property                            Date           Value of the property
Chrysler Capital                                      2017 Dodge TR Promaster VIN 269                       3/15/19
Creditor's Name

PO Box 660335
Number     Street                                  Explain what happened
                                                      Property was repossessed.
                                                      Property was foreclosed.
Dallas                       TX         75266-0335    Property was garnished.
City                         State      ZIP Code      Property was attached, seized, or levied.

                                                      Describe the property                            Date           Value of the property
Chrysler Capital                                      2017 Dodge TR Promaster VIN 357                       3/14/19
Creditor's Name

PO Box 660335
Number     Street                                  Explain what happened
                                                      Property was repossessed.
                                                      Property was foreclosed.
Dallas                       TX         75266-0335    Property was garnished.
City                         State      ZIP Code      Property was attached, seized, or levied.

                                                      Describe the property                            Date           Value of the property
Internal Revenue Service                              2017 tax refund $8442.00                               2019
Creditor's Name                                       2018 tax refund $7856.00
                                                      seized and applied to Debtors' tax
1100 Commerce Street
Number     Street                                     liability
Stop MC5026DAL                                        Explain what happened
                                                         Property was repossessed.
Dallas                       TX         75242            Property was foreclosed.
City                         State      ZIP Code         Property was garnished.
                                                         Property was attached, seized, or levied.

                                                      Describe the property                            Date           Value of the property
Chrysler Capital                                      2017 Dodge Promaster VIN 884                          3/2019
Creditor's Name

PO Box 660335
Number     Street                                  Explain what happened
                                                      Property was repossessed.
                                                      Property was foreclosed.
Dallas                       TX         75266-0335    Property was garnished.
City                         State      ZIP Code      Property was attached, seized, or levied.

                                                      Describe the property                            Date           Value of the property
Chrysler Capital                                      2017 Dodge TR Promast CI VIN 406                      3/2019
Creditor's Name

PO Box 660335
Number     Street                                  Explain what happened
                                                      Property was repossessed.
                                                      Property was foreclosed.
Dallas                       TX         75266-0335    Property was garnished.
City                         State      ZIP Code      Property was attached, seized, or levied.




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Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

                                                      Describe the property                            Date           Value of the property
Chrysler Capital                                      2017 Dodge TR Promaster CI VIN 680                    3/2019
Creditor's Name

PO Box 660335
Number     Street                                  Explain what happened
                                                      Property was repossessed.
                                                      Property was foreclosed.
Dallas                       TX         75266-0335    Property was garnished.
City                         State      ZIP Code      Property was attached, seized, or levied.

                                                      Describe the property                            Date           Value of the property
Chrysler Capital                                      2017 Dodge Ram 1500 VIN 064                           3/2019
Creditor's Name

PO Box 660335
Number     Street                                  Explain what happened
                                                      Property was repossessed.
                                                      Property was foreclosed.
Dallas                       TX         75266-0335    Property was garnished.
City                         State      ZIP Code      Property was attached, seized, or levied.

                                                      Describe the property                            Date           Value of the property
Toyota Financial                                      2016 Toyota Sequoiq                                   5/2019
Creditor's Name

PO Box 5855
Number     Street                                  Explain what happened
                                                      Property was repossessed.
                                                      Property was foreclosed.
Carol Stream                 IL         60197-5855    Property was garnished.
City                         State      ZIP Code      Property was attached, seized, or levied.

                                                      Describe the property                            Date           Value of the property
Sheffield                                             2016 CAM AM Maverick ATV                              6/30/19
Creditor's Name

PO Box 580229
Number     Street                                  Explain what happened
                                                      Property was repossessed.
                                                      Property was foreclosed.
Charlotte                    NC         28258-0889    Property was garnished.
City                         State      ZIP Code      Property was attached, seized, or levied.

                                                      Describe the property                            Date           Value of the property
Ally Financial                                        2017 Dodge Ram VIN 034                                3/2019
Creditor's Name

PO Box 78234
Number     Street                                  Explain what happened
                                                      Property was repossessed.
                                                      Property was foreclosed.
Phoenix                      AZ         85062-8234    Property was garnished.
City                         State      ZIP Code      Property was attached, seized, or levied.




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Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                            Case number (if known)

                                                                   Describe the property                          Date            Value of the property
First Place Auto/ In & Out Auto, LLC                               2008 Chevrolet Colorodo
Creditor's Name                                                    VIN 416
6829 Smithfield Road
Number     Street                                                  Explain what happened
                                                                      Property was repossessed.
                                                                      Property was foreclosed.
North Richland Hills                   TX           76182             Property was garnished.
City                                   State        ZIP Code          Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities                                    Describe what you contributed                Date you          Value
that total more than $600                                              weekly tithing                               contributed
North Point Church                                                                                                         2019           $4,000.00
Charity's Name

933 Ranch Road                                                                                                             2018           $7,262.00
Number     Street




Fort Worth                                  TX          76131
City                                        State       ZIP Code


  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
The Vida Law Firm, PLLC                                                                                         or transfer was     payment
Person Who Was Paid                                                                                             made

3000 Central Drive                                                                                                   2/8/18             $750.00
Number      Street

                                                                                                                   10/1/2019            $3,380.00

Bedford                       TX       76021
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
Access Counseling                                                                                               or transfer was     payment
Person Who Was Paid                                                                                             made

                                                                                                                     10/9/19             $25.00
Number      Street




City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




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Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                       Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                      Description and value of any           Describe any property or payments          Date transfer
Brenda Cooper                                         property transferred                   received or debts paid in exchange         was made
Person Who Received Transfer                          Debtors used the 2016 650 CC           even trade; no consideration                  4/2019
                                                      CAN AM 4 Wheeler as trade-in           given
Number      Street                                    for 2008 BMW




City                            State   ZIP Code

Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
Wells Fargo
Name of Financial Institution
                                                      XXXX-         3    9    8        Checking                 9/2018                     $0.00
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other License to Chill Heating & Air, Inc.

City                            State   ZIP Code

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
Plains Capital
Name of Financial Institution
                                                      XXXX-                            Checking                        2019                $0.00
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other

City                            State   ZIP Code




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Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                              Case number (if known)

                                                          Last 4 digits of account       Type of account or          Date account     Last balance
                                                          number                         instrument                  was closed,      before closing
                                                                                                                     sold, moved,     or transfer
                                                                                                                     or transferred
Chase Platinum Checking
Name of Financial Institution
                                                          XXXX-        5    2      8            Checking                  2019             $0.00
                                                                                                Savings
Number      Street
                                                                                                Money market
                                                                                                Brokerage
                                                                                                Other Just Chilling Heating & Air

City                            State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

  Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.

                                                   Where is the property?                           Describe the property              Value

Minor Sons                                                                                          checking account                      $85.16
Owner's Name

                                                   Wells Fargo
Number      Street                                 Number     Street




City                        State   ZIP Code       City                    State     ZIP Code

                                                   Where is the property?                           Describe the property              Value

Texas Best Heating & Air                                                                            Debtor Husband is an
Owner's Name                                                                                        authorized party on bank
                                                   ___________________                              account
Number      Street                                 Number     Street




City                        State   ZIP Code       City                    State     ZIP Code




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Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                           Case number (if known)

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

            No
            Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
License to Chill Heating and Air, Inc.                                                                Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN: 4     6 – 4         7    5   3   1   2     9
d/b/a Just Chillin Heating & Air                  Name of accountant or bookkeeper
Number       Street
                                                  Mary M. Hudgens, PLLC                               Dates business existed
1150 Blue Mound Road West, Ste 103
                                                                                                      From       2/5/14            To   2017
Haslet,                    TX      76052
City                       State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 14
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                     Case number (if known)

                                               Describe the nature of the business            Employer Identification number
License to Chill Heating & Air, Inc.                                                          Do not include Social Security number or ITIN.
Business Name
                                                                                              EIN: 4    6 – 4      7    5   3    1   2     9
dba Just Chilling Heating & Air                Name of accountant or bookkeeper
Number     Street
                                               Mary M. Hudgens, PLLC                          Dates business existed

                                                                                              From      6/2017         To   2018

City                      State   ZIP Code

                                               Describe the nature of the business            Employer Identification number
Bridges Auto Sales                             sole proprietorship                            Do not include Social Security number or ITIN.
Business Name
                                                                                              EIN:          –
                                               Name of accountant or bookkeeper
Number     Street
                                                                                              Dates business existed

                                                                                              From       2009          To   2007

City                      State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                  Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Dwayne Paul Bridges                             X /s/ Dana Michelle Bridges
   Dwayne Paul Bridges, Debtor 1                         Dana Michelle Bridges, Debtor 2

   Date     10/10/2019                                   Date     10/10/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                    Attach the Bankruptcy Petition Preparer's Notice,
                                                                                           Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 16
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal              for your state of residence and family size, depending
    restitution obligations; and                                  on the results of the Means Test, the U.S. trustee,
                                                                  bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy          dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                       Code. If a motion is filed, the court will decide if your
                                                                  case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:               choose to proceed under another chapter of the
                                                                  Bankruptcy Code.
    fraud or theft;
                                                                  If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                  trustee may sell your property to pay your debts, subject
    capacity;
                                                                  to your right to exempt the property or a portion of the
                                                                  proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                  and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor          trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from           called exempt property. Exemptions may enable you to
    alcohol or drugs.                                             keep your home, a car, clothing, and household items or
                                                                  to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have             Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You            must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly             Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing     property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine          proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                  Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                   $1,167    filing fee
122A-2).                                                                $550    administrative fee
                                                                  +
If your income is above the median for your state, you must           $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--            Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your                is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to           11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                     most criminal fines and restitution obligations,
          $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




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                                                                 A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                               called a joint case. If you file a joint case and each
                                                                 spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires              bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about              mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses          unless you file a statement with the court asking that
  and general financial condition. The court may                 each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                            Understand which services you could
                                                                 receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                 The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms               counseling briefing from an approved credit counseling
  .html#procedure.                                               agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                 case, both spouses must receive the briefing. With
                                                                 limited exceptions, you must receive it within the 180
                                                                 days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                   briefing is usually conducted by telephone or on the
consequences                                                     Internet.

    If you knowingly and fraudulently conceal assets or          In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of              must complete a financial management instructional
    perjury--either orally or in writing--in connection with     course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or          filing a joint case, both spouses must complete the
    both.                                                        course.

                                                                 You can obtain the list of agencies approved to provide
    All information you supply in connection with a              both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the            http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department           In Alabama and North Carolina, go to:
    of Justice.                                                  http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                 ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                          If you do not have access to a computer, the clerk of the
                                                                 bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




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 Fill in this information to identify your case:
 Debtor 1              Dwayne              Paul                   Bridges
                       First Name          Middle Name            Last Name

 Debtor 2            Dana                  Michelle               Bridges
 (Spouse, if filing) First Name            Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Ally Financial                                        Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2016 Chevrolet Corvette                               Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Chrysler Capital                                      Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2012 Toyota Tundra                                    Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor will continue making payments to creditor without
                                                                              reaffirming.
                                                                              third party pays direct




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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                   Case number (if known)

    Identify the creditor and the property that is collateral      What do you intend to do with the           Did you claim the property
                                                                   property that secures a debt?               as exempt on Schedule C?
    Creditor's       Conns                                              Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   kitchen table, 2 arm chairs, 6 regular             Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
                     chairs
    securing debt:                                                      Retain the property and [explain]:
                                                                        Debtor will continue making payments to creditor without
                                                                        reaffirming.


    Creditor's       DATCU                                              Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   2014 XMR 650 CAM AM Outlander                      Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
                     Travis 4 wheeler
    securing debt:                                                      Retain the property and [explain]:


    Creditor's       Internal Revenue Service                           Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   920 Lynch Bend Road Springtown                     Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:
                                                                        Debtor will continue making payments to creditor without
                                                                        reaffirming.


    Creditor's       Internal Revenue Service                           Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   920 Lynch Bend Road Springtown                     Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:
                                                                        Debtor will continue making payments to creditor without
                                                                        reaffirming.


    Creditor's       Internal Revenue Service                           Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   920 Lynch Bend Road Springtown                     Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:
                                                                        Debtor will continue making payments to creditor without
                                                                        reaffirming.


    Creditor's       Kubota Credit corp                                 Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   Zero Turn TRW w/60" MWR & ROPS                     Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:
                                                                        Debtor will continue making payments to creditor without
                                                                        reaffirming.
                                                                        third party pays direct




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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                   Case number (if known)

    Identify the creditor and the property that is collateral      What do you intend to do with the           Did you claim the property
                                                                   property that secures a debt?               as exempt on Schedule C?
    Creditor's       Kubota Credit Corp.                                Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   see remarks below                                  Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:
                                                                        Debtor will continue making payments to creditor without
                                                                        reaffirming.
                                                                        third party pays direct


    Creditor's       Kubota Credit Corp.                                Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   Back Ho and Post Hole Digger                       Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:
                                                                        Debtor will continue making payments to creditor without
                                                                        reaffirming.
                                                                        third party pays direct


    Creditor's       Kubota Credit Corp.                                Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   grass catcher and line trimmer                     Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:
                                                                        Debtor will continue making payments to creditor without
                                                                        reaffirming.
                                                                        third party pays direct


    Creditor's       Suntrust                                           Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   2016 Toyota Tundra                                 Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:


    Creditor's       Tim Moore                                          Surrender the property.                    No
    name:                                                               Retain the property and redeem it.         Yes
    Description of   1045 Green Ridge Terrace, Saginaw                  Retain the property and enter into a
    property                                                            Reaffirmation Agreement.
    securing debt:                                                      Retain the property and [explain]:
                                                                        Debtor will continue making payments to creditor without
                                                                        reaffirming.
                                                                        third party pays direct




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                page 3
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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                   Case number (if known)

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                          Will this lease be assumed?

    Lessor's name:        Fleetmatics USA LLC                                                                     No
    Description of leased vehicle tracking systems                                                                Yes
    property:


    Lessor's name:        Hawk Security                                                                           No
    Description of leased security service agreement                                                              Yes
    property:


    Lessor's name:        Northern Leasing Systems                                                                No
    Description of leased credit card machine                                                                     Yes
    property:




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                  page 4
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Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                  Case number (if known)

 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Dwayne Paul Bridges                            X /s/ Dana Michelle Bridges
   Dwayne Paul Bridges, Debtor 1                         Dana Michelle Bridges, Debtor 2

   Date 10/10/2019                                       Date 10/10/2019
        MM / DD / YYYY                                        MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                page 5
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                                         UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                               FORT WORTH DIVISION
  IN RE:   Dwayne Paul Bridges                                                         CASE NO
           Dana Michelle Bridges
                                                                                       CHAPTER       7

            DISCLOSURE OF COMPENSATION UNDER 11 U.S.C. § 329 AND B.R. 2016(B)


                                               Amount paid:              $4,230.00
                                         Amount to be paid:                   $0.00
                           Property transferred to attorney:    None
                                Collateral held by attorney:    None
                                   Source of compensation: Current wages


    I certify that I am the attorney for the above named debtor, and that the compensation paid or agreed to be paid to me for
services rendered or to be rendered on behalf of the Debtor in or in connections with a case under Title 11 of the United States
Code, such payment or agreement having been made after one year before the date of filing of the petition, is as indicated above.

    I further certify that the Debtor has been informed and has agreed that the compensation paid shall include the following legal
services: (a) All conferences with the Debtor; (b) Preparation of Petition and Schedules; (c) Attendance at 341 First Meeting and
attendance at reaffirmation and/or confirmation hearings; (d) Preparation of routine motions.

    I have not agreed to share this compensation with any person other than members of the firm.


Date 10/10/2019




 /s/ Carla R. Vida
Carla R. Vida                            Bar No. 16674445
The Vida Law Firm, PLLC
3000 Central Drive
Bedford, TX 76021
Phone: (817) 358-9977 / Fax: (817) 358-9988
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   Dwayne Paul Bridges                                                     CASE NO
           Dana Michelle Bridges
                                                                                   CHAPTER        7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 10/10/2019                                          Signature    /s/ Dwayne Paul Bridges
                                                                     Dwayne Paul Bridges



Date 10/10/2019                                          Signature    /s/ Dana Michelle Bridges
                                                                     Dana Michelle Bridges
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                           Absolute Resolutions Corporation
                           8000 Norman Center Dr. #860
                           Bloomington, MN 55437



                           ADT
                           5400 Airport Freeway, Ste A
                           Fort Worth, Texas 76117-5928



                           Allied Interstate
                           PO Box 361445
                           Columbus, OH 43236



                           Allstate Indeminty Company
                           c/o CCS
                           Payment Processing Center
                           PO Box 55126
                           Boston, MA 02205-5126

                           Alltran Financial LP
                           PO Box 610
                           Sauk Rapids, MN 56379-0610



                           Ally Financial
                           PO Box 380902
                           Bloomington, MN 58438



                           Ally Financial
                           PO Box 78234
                           Phoenix, AZ 85062-8234



                           Alpha Recovery Corp. `
                           6912 S. Quentin St., Unit 10
                           Centennial, CO 80112



                           Altus Global Trade Solutions
                           2400 Veterans Memorial Blvd, Ste 300
                           Kenner, LA 70062
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                           Amcol Systems, Inc.
                           PO Box 21625
                           Columbia, SC 29221



                           Asset Recovery Solutions, LLC
                           2200 E. Devon Ave, Ste 200
                           Des Plaines, IL 60018-4501



                           Barclay Card
                           PO Box 60517
                           City of Industry, CA 91716-0517



                           Baylor Surgicare @ Mansfield
                           280 Regency Parkway
                           Mansfield, Texas 76063



                           Bill Me Later, Inc.
                           c/o PayPal Credit
                           PO Box 5138
                           Timonium, MD 21094


                           Blaze Mastercard
                           PO Box 2534
                           Omaha, NE 68103-2534



                           Blue Mound Business Park
                           1150 Blue Mound Road
                           Haslet, Texas 76052



                           Blue Mound Business Park, LLC
                           1150 Blue Mound Road
                           Haslet, Texas 76052



                           Cabellas Visa
                           PO Box 82519
                           Lincoln, NE 68501-2519
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                           Capital Management Services, LP
                           698 1/2 South Ogden Street
                           Buffalo, NY 14206-2317



                           Capital One
                           PO Box 60599
                           City of Industry, CA 91716-0599



                           Capital One Bank USA
                           c/o Scott & Associates, PC
                           PO Box 113297
                           Carrollton, Texas 75011-3297


                           Capital One Platinum Mastercard
                           PO Box 60599
                           City of Industry, CA 91716-0599



                           Capital One Quicksilver Mastercard
                           PO Box 60599
                           City of Industry, CA 91716-0599



                           Cardmember Service
                           Amazon
                           PO Box 6294
                           Carol Stream, IL 60197-5294


                           Cardmember Service
                           Marriott Rewards Visa
                           PO Box 6294
                           Carol Stream, IL 60197-6294


                           Champs Properties
                           Jason Creel
                           5328 Rolling Meadows Dr.
                           Fort Worth, Texas 76123


                           Chase
                           PO Box 6026
                           Chicago, IL 60680-6026
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                           Chase Bank
                           6543 Lake Worth Blvd,
                           Lake Worth, Texas 76135



                           Christopher R. Norris, Atty
                           Ekvall & Byrne LLP
                           4450 Sigma Road, Ste 100
                           Dallas, Texas 75244


                           Chrysler Capital
                           PO Box 660335
                           Dallas, Texas 75266-0335



                           Chrysler Capital
                           PO Box 961275
                           Fort Worth, Texas 76161-1275



                           Cintas
                           PO Box 6650838
                           Dallas, Texas 75265-0838



                           City of Fort Worth et al
                           c/o Stephen T. Meeks
                           Linebarger Goggan Blair et al
                           100 Throckmorton Ste 300
                           Fort Worth, Texas 76102

                           Client Services, Inc.
                           3451 Harry S. Truman Blvd.
                           St. Charles, MO 63301-4047



                           Colonial Funding Network/TVT Capital, LL
                           c/o Jennifer Ballard, Esq.
                           120 West 45th Street, 2nd Fl.
                           New York, NY 10036


                           Conns
                           PO Box 815867
                           Dallas, Texas 75234-5867
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                           Conns/Synchrony Bank
                           PO Box 960061
                           Orlando, FL 32896-0061



                           Credit Systems International, Inc.
                           PO Box 1088
                           Arlington, Texas 76004-1088



                           Crown Asset Management LLC
                           c/o MRS BPO LLC
                           1930 Olney Ave
                           Cherry Hill, NJ 08003


                           DATCU
                           PO Bxo 927
                           Denton, Texas 76202-0827



                           Direct Capital Corp
                           155 Commerce Way
                           Portsmouth, NH 03801



                           Discover
                           PO Box 790213
                           St. Louis, MO 63179-0213



                           Diversified Pure Chem
                           c/o Richard J. Scott
                           801 East Campbell Road
                           Suite 165
                           Richardson, Texas 75018

                           DNF Associates, LLC
                           c/o Halsted Financial Services, LLC
                           PO Box 828
                           Skokie, IL 60076


                           Financial Recovery Services, Inc.
                           PO Box 385908
                           Minneapolis, MN 55438-5908
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                           First Choice Emergency Room
                           c/o AMCOL Systems, Inc.
                           PO Box 21625
                           Columbia, SC 29221


                           First National Credit Card
                           PO Box 2496
                           Omaha, NE 68103-2496



                           First Place Auto/ In & Out Auto, LLC
                           6829 Smithfield Road
                           North Richland Hills, Texas 76182



                           First Premier Mastecard
                           PO Box 5529
                           Sioux Falls, SD 57117-5529



                           First Premier Mastercard
                           PO Box 5529
                           Sioux Falls SD 57117-5529



                           First Savings Bank
                           Blaze Mastercard
                           c/o RGS Financial, Inc.
                           PO Box 852039
                           Richardson, Texas 75085-2039

                           First Savings Credit Mastercard
                           PO Box 2509
                           Omaha, NE 68103-2509



                           Fleetmatics USA LLC
                           1100 Winter Street, Ste 4600
                           Waltham, MA 02451



                           Frontline Asset Strategies
                           2700 Snelling Ave N.
                           Ste 250
                           Roseville, MN 55113
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                           Gandermountaine Mastercard
                           PO Box 659569
                           San Antonio, Texas 78265-9569



                           Geico Indeminity Company
                           c/o CCS
                           Payment Processing Center
                           PO Box 55126
                           Boston, MA 02205-5126

                           Gene De Bullet & Associates
                           2315 N. Main Street,
                           Ste 300
                           Fort Worth, Texas 76164


                           Hawk Security
                           My Alarm Center
                           3803 West Chester Pike, Ste 100
                           Newton Square, PA 19073


                           Hawk Security
                           3803 West Chester Pike, Ste 100
                           Newton Square, PA 19073



                           Hays Potter & Martin LLP
                           c/o James W. Hays
                           3945 Holcomb Bridge Road, Ste 300
                           Peachtree Corners, GA 30092


                           Healthport
                           PO Box 409740
                           Atlanta, GA 30384-9740



                           Ignacio Diaz & Leila Delgado
                           c/o Jim Zadeh, PC
                           115 W. 2nd Street. Ste 201
                           Fort Worth, Texas 76102


                           Indigo Mastercard
                           PO Box 205458
                           Dallas, Texas 75320-5458
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                           Internal Revenue Service
                           1100 Commerce Street
                           MC 5027 DAL
                           Dallas, TX 75242


                           Internal Revenue Service
                           1100 Commerce Street
                           Stop MC5026DAL
                           Dallas, TX 75242


                           Internal Revenue Service Center
                           PO Box 7346
                           Philadelphia, PA 19101-7346



                           IOU Central, Inc.
                           600 Town Park Lane
                           Suite 100
                           Kennesaw, GA 30144


                           Jefferson Capital Systems, LLC
                           c/o Dynamic Recovery Solutions
                           PO Box 25759
                           Greenville, SC 29616-0759


                           Jefferson Capital Systems, LLC
                           c/o Alpha Recovery Corp.
                           6912 S. Quentin St., Unit 10
                           Centennial CO 80012


                           Jefferson Capital Systems, LLC
                           16 McLeland Road
                           Saint Cloud, MN 56303



                           Jim Zadeh, PC
                           115 W. 2nd Street, Ste 201
                           Fort Worth, Texas 76102



                           John J. McNeff, DDS
                           5920 Watauga Road
                           Watauga, Texas 76148
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                           Keith West
                           Altus Global Trade Solutions
                           2400 Veterans Blvd. Ste 300
                           Kenner, LA 70062


                           Kubota Credit corp
                           PO Box 2046
                           Grapevine, Texas 76099



                           Kubota Credit Corp.
                           PO Box 2046
                           Grapevine, Texas 76099



                           Laboratory Corporation of America
                           c/o AMCA
                           PO Box 1235
                           Elmsford, NY 10523-0935


                           Landon Bridges
                           920 Lynch Bend Road
                           Springtown, Texas 76082



                           Legacy Visa
                           PO Box 2496
                           Omaha, NE 68103-2509



                           Lennox Ind
                           NACM Southwest
                           751 Plaza Blvd.
                           Coppell, Texas 75019


                           Lennox Industries, Inc.
                           c/o Patrick J. Schurr
                           Scheef & Stone, LLP
                           2600 Network Blvd, Ste 400
                           Frisco, Texas 75035

                           License to Chill Heating & Air, Inc.
                           dba Just Chilling Heating and Air
                           Ste 201
                           Springtown, Texas 76082-2916
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                           License to Chill Heating & Air, Inc.
                           d/b/a Chillin Heating & Air




                           Linebarger, Goggan, Blair & Sampson
                           Bankruptcy Dept.
                           100 Throckmorton
                           Fort Worth, Texas 76102


                           LVNV Funding LLC
                           c/o Allied Interstate
                           PO Box 361445
                           Columbus, OH 43236


                           LVNV Funding, LLC
                           c/o Halsted Financial Services, LLC
                           PO Box 828
                           Skokie, IL 60076


                           Mark Dirnberger D.O. P.A.
                           Attn # 15558C
                           PO Box 14000
                           Belfast, ME 04915


                           Mary M. Hudgens, PLLC
                           CPA
                           935 W. Glade Road
                           Hurst, Texasd 76054


                           Medcredit
                           PO Box 1629
                           Maryland Heights, MO 63043



                           Medical Center Alliance
                           10030 N. Macarthur Blvd.
                           Irving, Texas 75063-5001



                           Merrick Bank
                           PO Box 9201
                           Old Bethpage, NY 11804
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                           Mid Cities Imaging
                           PO Box 83585
                           Richardson, Texas 75083



                           Midland Credit Management
                           2365 Northside Dr.
                           Ste 300
                           San Diego, CA 92108


                           Midland Credit Management
                           350 Camino De La Reina
                           Ste 100
                           San Diego, CA 92108


                           Midland Funding LLC
                           c/o Atlantic Credit & Finance Inc.
                           PO Box 13386
                           Roanoke, VA 24033-3386


                           Milestone
                           PO Box 84059
                           Columbus, GA 31908-4059



                           MRS BPO LLC
                           1930 Olney Ave
                           Cherry Hill, NJ 08003



                           Nationwide Credit, Inc.
                           PO Box 14581
                           Des Moines, IA 50306-3581



                           Northern Leasing Systems
                           PO Box 7861
                           New York, NY 10116



                           Northern Leasing Systems
                           525 Washington Blvd, 15th Floor
                           Jersey City, NJ 07310
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                           Northstar Location Services, LLC
                           Attn: Financial Services Dept.
                           PO Box 49
                           Bowmansville, NY 14026-0049


                           One Main
                           PO Box 790368
                           St. Louis, MO 63179-0368



                           Orion Portfolio Services, II LLC
                           c/o Transworld Systems, Inc.
                           PO Box 15095
                           Wilmington, DE 19850-5095


                           Paramount Recovery Systems
                           7524 Bosque Blvd, Ste L
                           Robinson, Texas 76706



                           Pay Pal Mastercard
                           2211 North First Street
                           San Jose, CA 95131



                           PayPal Credit
                           PO Box 71202
                           Charlotte, NC 28272-1202



                           Phillips & Cohen Associates, Ltd.
                           1002 Justison Street
                           Wilmington, DE 19801



                           Phoenix Financial Services
                           8908 Otis Ave., Suite 103A
                           Indianaoplis, IN 46216



                           Portfolio Recovery Associates, LLC
                           PO Box 12914
                           Norfolk, VA 23541
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                           Portfolio Recovery Associates, LLC
                           Attn: AYR
                           140 Corporate Blvd
                           Norfolk, VA 23502


                           Protection 1
                           PO Box 219044
                           Kansas City, MO 64121-9044



                           Radiology Associates of North Texas
                           PO Box 1723
                           Indianapolis, IN 46206-1723



                           Rausch Sturm
                           15660 North Dallas Parkway
                           Ste 350
                           Dallas, Texas 75248


                           Rausch Sturm
                           250 North Sunnyslope Road
                           Ste 300
                           Brookfield, WI 53005


                           Rent to Own
                           PO Box 1717
                           Denton, Texas 76202



                           Republic Svcs-Arlington #794
                           PO Box 78829
                           Phoenix, AZ 85062-8829



                           RGS Financial Inc.
                           PO Box 852039
                           Richardson, Texas 75085-2039



                           Richard J. Scott, Attorney
                           801 East Campbell Road, Ste 165
                           Richardson, Texas 75018
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                           RMS
                           PO Box 361595
                           Columbus, OH 43236



                           Scott & Associates, PC
                           Attorneys at Law
                           PO Box 115220
                           Carrollton, Texas 75011-5220


                           Scott & Associates, PC
                           Attorneys at Law
                           PO Box 113297
                           Carrollton, Texas 75011-3297


                           Sheef & Stone, LLP
                           Patrick J. Schurn
                           2600 Network Blvd,
                           Ste 400
                           Frisco, Texas 75034

                           Sheffield
                           PO Box 580229
                           Charlotte, NC 28258-0889



                           SIMM Associates, Inc.
                           PO Box 7526
                           Newark, DE 19714-7526



                           State Farm County Mutual Insurance Co.
                           c/o Stephen D. McKimmey et al
                           900 Jackson Street, Ste 700
                           Dallas, Texas 75202


                           Suntrust
                           PO box 305053
                           Nashville, TN 37230-5063



                           Synchrony Bank
                           Legal Operation
                           PO Box 29110
                           Shawnee Mission, KS 66201-5320
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                           Synchrony Bank/JC Penneys
                           PO Box 965009
                           Orlando, FL 32896-5009



                           Tarrant County Tax Collector
                           100 E Weatherford St
                           Fort Worth, TX 76196



                           Texas Back Institute
                           6020 W. Parker Road, Ste 200
                           Plano, Texas 75093



                           Texas Health Resources
                           500 E. Border Street #130
                           Arlington, Texas 76010



                           Texas Health Resources
                           Payment Processing Center
                           PO Box 733546
                           Dallas, Texas 75373-3546


                           Texas Medicine Resources
                           PO Box 8549
                           Fort Worth, Texas 76124-0549



                           Texas Radiology Associates
                           c/o Synerprise Consulting
                           5651 Broadmoor
                           Mission, KS 66202


                           Tim Moore
                           302 Pine Tree Road
                           Longview, Texas 75604



                           Total
                           PO Box 88940
                           Sioux Falls, SD 57109
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                           Total Visa
                           PO Box 89940
                           Sioux Falls, SD 57109



                           Toyota Financial
                           PO Box 5236
                           Carol Stream, IL 60197-5236



                           U.S. Anesthesia Partners
                           c/o Synerprise Consulting
                           5651 Broadmoor
                           Mission, KS 66202


                           U.S. Anethesia Partners
                           c/o Synerprise Consulting
                           5651 Broadmoor
                           Mission, KS 66202


                           United Joint & Spine Institute
                           5651 E. Lancaster Ave #200
                           Fort Worth, Texas 76112



                           United Revenue Corp
                           204 Billings Street, Ste 120
                           Arlington, Texas 76010



                           Urology Associates of North Texas
                           Medical Records Dept.
                           900 Airport Freeway, Ste158
                           Hurst, Texas 76054


                           US Auto Credit
                           PO Box 57545
                           Jacksonville, FL 32241



                           Verizon Connect KFA Fleetmatics
                           c/o Guest & Associates, PC
                           PO Box 696
                           DeKalb, Texas 75559
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                           Woodhills Labs
                           7589 Preston Road
                           Ste 700
                           Frisco, Texas 75034-5675
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Dwayne               Paul                  Bridges
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2            Dana                Michelle              Bridges                         2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
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Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                                                               Case number (if known)

                                                                                                                                         Column A     Column B
                                                                                                                                         Debtor 1     Debtor 2 or
                                                                                                                                                      non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act. Also, except as stated in the
     next sentence, do not include any compensation, pension, pay, annuity, or
     allowance paid by the United States Government in connection with a
     disability, combat-related injury or disability, or death of a member of the
     uniformed services. If you received any retired pay paid under chapter 61
     of title 10, then include that pay only to extent that it does not exceed the
     amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments received as a victim of a war crime, a crime against humanity, or
    international or domestic terrorism; or compensation, pension, pay, annuity,
    or allowance paid by the United States Government in connection with a
    disability, combat-related injury or disability, or death of a member of the
    uniformed services. If necessary, list other sources on a separate page
    and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                  +

Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                        page 2
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Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                                               Case number (if known)

                                                                                                                       Column A               Column B
                                                                                                                       Debtor 1               Debtor 2 or
                                                                                                                                              non-filing spouse

11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                +                          =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                         Total current
                                                                                                                                                                         monthly income

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Dwayne Paul Bridges                                                                   X    /s/ Dana Michelle Bridges
           Dwayne Paul Bridges, Debtor 1                                                                  Dana Michelle Bridges, Debtor 2

           Date 10/10/2019                                                                                Date 10/10/2019
                MM / DD / YYYY                                                                                 MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                            page 3
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 Fill in this information to identify your case:
 Debtor 1             Dwayne                  Paul                Bridges
                      First Name              Middle Name         Last Name

 Debtor 2            Dana                     Michelle            Bridges
 (Spouse, if filing) First Name               Middle Name         Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)
                                                                                                        Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                       No.    Go to line 3.
                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
          No.    Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No.    Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,           If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                 Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,           box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on       Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I     122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                      Form 122A-1 during the exclusion period. The exclusion
                                                                                      period means the time you are on active duty or are
                      I am performing a homeland defense activity for at              performing a homeland defense activity, and for 540 days
                      least 90 days.                                                  afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is      If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.         you may have to file an amended form later.




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